                                                                                                                                                               FILEDUSBCGLRKPHM
                                                                                                                                                                   2019flUG20PM2:36
   oebion            JESSICA LOREN GAVARRETE
                     FiltlNamc                    MdaiiNaine               -rasi'Ka.T---"
   Debtor 1
   (Spouse Jf filing) FntNsmti                    MiadfoM. ifAo                 Last hiamo          ~"-

   United States Bankruptcy Court tor the; _                      District of

   casenumbor ,,,, ^,                               *                                                                                                          a Check ifthis is an
                                                                                                                                                                   amended filing



 Official Form 106Sum
 Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                      12/15
 Boaswmploteandaccurateaspossible.Iftwomarriedpeoplearcfilingtogether,botharcequallyresponsibleforsupplyingcorrect
 information.Filloutallofyourschedulesfirst; thencompletetheinformationonthisform. Ifyouarefilingamendedschc'dulosafteryou(ito
 your original forms, you must fill out a new Summary and chock the box at the top of this page.

               Summarize Your Assets



                                                                                                                                                           Your assets

                                                                                                                                                           Valueof what you own
 1. ScheduleA/B:Property(OfficialForm 106A/S)
     la. Copyline55.TotalrealoslatQ.(rom Schoduto/1/B..........................................................                                                $46000. 00

     ib.Copyline62,Tola!personalproperty,from ScheduleA/B....................................................................,........,,..,., ^,,,,,, ^,       5 12800.00
     1c, Copy line 63, Total of all property on Schedule A/B



              Summarize Your Liabilities



                                                                                                                                                           Your liabilities
                                                                                                                                                           Amount you owe
 2. Schedule D: Creditors Who Have Claims Socwod by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last pago of Part 1 of Schocliilo D............                          S ^--". "-" .'

 3. ScheduleE/F:CrodltorsWhoHave UnsecwodClaims(OfficialForm 106E/F)
    3a. Copy the total claims from Part 1 (priorily unsecured claims) from line Go of Schodulo E/F,...........................................                s --. _- -

    3b. Copy the total claims from Part 2 (nonpriorily unsecured claims) from line 6Jof Schedule E/F.


                                                                                                                           Yourtotal liabilities              S 280239.00

              Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
   Copy yourcombinod monthly Incomefrom lino 12 of Scrtedute/................................................................                                 S -" ".1-'

5. ScheduleJ: YourExpenses(OfficialForm 106J)
    CQpyyourmonlhlyexpensesfromline22corSc:hedutoJ.............................................................................................               S 3707.00



Official Form 106Sum                           Summary of Your Assets and Liabilitiesand Certain Statistical Information                                           page 1 of 2




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     Doblor 1
                   JESSICA LOREN GAVARRETE
                                                                                                Case number li.'in^iT;
                   Fnl Nam>       Mlddfc Nanr        Lail Nimo




                 Answer These Questions for Administrative and Statistical Records

     6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No.Youhavenothingto reportonthispartofthetorn).Checkthisboxandsubmitthisformto thucourtwithyourolhorschu dulcs.
        S3 Yes

     7. What kind of debt do you have?

            Yourdebtsareprimarilyconsumerdebts. Consumordobt$arethose'incurredbyanindividualprimarilyfora personal,
            family,orhouseholdpurpose." 11 U.S.C. § 101(8).Filloullines8-9gforstatisticalpurposes.28U.S.C. § 159.
            Your debts are not primarily consumer debts. You havu nothing to report an this part of the form. Check this box and submit
            this form to the court with your other schedules.


    s. From the Statomonl of Your Currant Monthly Income: Copy your tolal curronl monthly income from Official
        Form 122A-1 Line 11; OR, Form 122B Uno 11; OR, Form 122C-1 Line 14.                                                          3781. 00




    9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                        Total claim


         From Part 4 on Schedule E/F, copy the following:

                                                                                                                  0
       9a. Domestic support obligations (Copy lino 6a.)

                                                                                                                  0
       9b. Taxes and csrtain other debts you owe the govornmenl. (Copy line Gb.)

                                                                                                                  0
       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


       9d. Student loans. (Copy line 6f.)


       9e. Obligationsarisingout ofa separationagreementor divorce thatyou didnot report as                        0
           priority claims. (Copy line 6g.)

                                                                                                                  0
       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +s


       99. Total. Add lines 9a through Sf.                                                                       0, 00




Offlctal Form 106Sum Summary of Your Assets and Uabilitics and Certain Statistical Information                                            page 2 of 2




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 Debtor 1            IESSICA LOREN GAVARRETE
                       Fnl Nam»                   Msdrtfc N.imc

 Dcbior 2
 (SpO USe. if Rting)   Firal Najng
                                                  Mddlr Kamc                  l. o, [ iicmc


 UnitedStatesBankruptcyCourtforthe;                               Districtof ARIZONA
 Case number

                                                                                                                                                   1-J Check if this is an
                                                                                                                                                      amended filing

 Official Form 106A/B
 Schedule A/B: Property                                                                                                                                          12/15

 Ineachcategory,soparatolylist anddoscriboitems. Listan assetonlyonce. Ifanassetfits in morethanonecategory,list theassetin the
 categorywhereyouthinkit fits best. Boascompleteandaccurateaspossiblo.Iftwomarriedpeoplearc filing togethor, bdtharcequally
 responsible for supplying correct information, Ifmore space is needed, atlach a separate sheet to this (orm. On the top of anyadditional pages,
 write your name and case number (if known). Answer every question.

                Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or haveany legal or cquitablu inlcrost in any residence, building, land, or similar property?
   D No. Go to Part2,
   Kl Yos.Where isIhoproperty?
                                                                       What is the property? Chockall thaiapply.
                                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                            Singla-familyhomo                            the amount of any securedclaims on SchodulaD:
      1. 1.     14932W ACAPULCOLN                                       a Duplex or inulli-unil Uuitding                 Creditors Who Have Claims Securedb/ Pmpcity.
              Street addross. Ifavailabte,or otherOcsuripiioiT
                                                                        a Condominium orcoopcralivo                      Current value of the        Current value of the
                                                                            Miinufaclurcd or mobile honto                entire property?            portion you own?
                                                                        U Land                                           $2J_7009-0_0_ s 46000.00
              SURPRISE                 AZ            85379                  Investment property

              City                           Stalo       2 IP Cod a
                                                                       Q Timcsharc                                       Describe (he nature of your ownership
                                                                       a Oilier                                          interest (such as fco simple, tenancy by
                                                                                                                         the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one.
              MARICOPA                                                 X] Debtor 1 only
              County                                                   Q Debtor 2 only
                                                                       Q Dcblar 1 and 13oblor2 unly                         Chuck if this is community property
                                                                                                                             (KCiu instructions)
                                                                       a At least one of the debtors and anolhcr
                                                                       Other information you wish to add about this itcni, such as local
                                                                       property identification number:
   If you own or have more than one, list horo:
                                                                      What is the property? ClTOck all ihat apply.
                                                                                                                         Do nol deduct secured claims or exemptions. Put
                                                                      Q Singlo-farnily homo                              Ihe amount of any secured claims on Schodulo D:
      1. 2.                                                                                                              Creditors Who Have Claims Securedby Pmparty.
              Slreot address, if auailablo,or olhor description
                                                                      Q Duplexormulli-unilbuilding
                                                                      Q Condominiumorcooporativo                         Current value of the        Current value of the
                                                                      t_l Manufactured or mobile home                    entire property?            portion you own?
                                                                      a Land
                                                                      Q Invoslmcnt property
                                                                      Cl Timcsharu                                       Describe the nature of your ownership
              City                           Stale       ZIPCodD                                                         interest (such as fee simple, tenancy by
                                                                      CJ Other. _.                                       (he entireties, or a life estate), if known.
                                                                      Who has an intcrosl in tho property? Chackone.
                                                                      l-I Uoblor1 only
              County                                                  Q Deblor 2 only
                                                                      Q Debtor 1 andOcbtof 2 only                           Check if this is community property
                                                                         At least ono of tho dotjtors and another           (sco instructions)

                                                                      Other information you wish to add about Ihis item, such as local
                                                                      property identification number:


Official Form 106A/B                                                  Schedule A/0: Properly                                                               page 1




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 Debtor1            JESSICA LOREN GAVARRETE                                                                       Caso numbur (./itrw-An]
                    FdtiNgmo       Middle Kamc             Luai Mauiu'




                                                                          What is tho property? Check all that apply.                  Do not deduct secured claims or exemptions. Pul
     1.3.                                                                 a Singlo-familyhomo                                         ths amounl of any secured claims on Schcciulo D;
             Street address, il available, or other description           Q Duplexormulli-unitbuilding                                Creditors WhoHave Claims Sc'curodbyProperty.
                                                                              Condominium or cooporativo                              Current value of the        Current value af the
                                                                          Q Manufacturedormobilehomo                                  cnlirc property?            portion you own?
                                                                          Q Land
                                                                          Q Invoslment property
             City                            Stale      I'll' Code        Q Timosharo                                                 Describe the nature of your ownership
                                                                         t-1 Other.                                                   interest (such as fee simple, tenancy by
                                                                                                                                      the cnlirotios, or a life estate), if known.
                                                                         Who has an interest in Ihc property? Chockone. -                   ---
                                                                         Q Debtor 1 only
            County
                                                                         Q Debtor 2 only
                                                                         Q Debtor 1 and Doblor 2 only                                 Q Chockifthisis communityproperty
                                                                         Q At leastoneofthe debtorsandanolhcr                               (sue instruclions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property idontification number:


Z. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                   46000. 00
   you have attached for Part 1. Write that number here.




             Describe Your Vehicles



Do you own, loaso, or have legal or oquilabta interest in any vehicles, whothor thoy aro rcgistorod or not? Includo any vchiclos
you own that someone else drives. If you leasy a vuhlcli;, also report it on Sclmdulu G; Executory Conlnicls aiid Uimxpiru<j Losses.

3. Cars, vans, trucks, tractors, sport utility vohiclos, motorcycles
   a No
   Q Yes

   3.1. Make:                             DODGE                          Who has an interest in tho propeny? Chock one.              Do not deduct secured claims or examptiona. Put
            Model:              RAM                                      S Debtor 1 only                                             the amount of any secured claims on Sc^ierfyte D;
                                                                                                                                      Creditors WtioHavo Claims Secured by Property.
                                                                         D Debtor 2 only
            Year;               2016                                                                                                  Current value of the        Current value of the
                                                                         Q Debtor 1 and Dubtor7. only
            Approximatemileage: 41000                                    Cl At least one of the debtors and anolhcr
                                                                                                                                     entire property?             portion you own?

            Other information:
                                                                                                                                     S 25047. 00                      6000. 00
                                                                         Cl Check if this is cominunity property (soc
                                                                            instructions)



   If you own or have more than one, describe here:

   3. 2.    Make:                                                        Who has an interest in the property? Chock onn.             Do not dfiduct secured ckisms or fiKcrriplions. Pul
                                                                                                                                     Ihe amounl d any secured claims on Schcchilc D:
            Model:                                                       Q Debtor1 only                                              Creditors Who Have Claims Securedby Pmpeiiy.
                                                                         D Debtor7. only
            Year:                                                                                                                    Current value of the        Current value oftha
                                                                         t-1 Debtor 1 and Debtor 2 only
            Approximate mileage;                                                                                                     cntirG property?            portion you own?
                                                                         1-1 At lcasl one of (ho dcblors and .inolhor
            Other information:
                                                                         Q Checkif this is communityproperty (sco
                                                                            instruclions)




Officfat Form 106A/B                                                     Schedule /VB: Property                                                                          page 2




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  Debtor 1
                     JESSICA LOREN GAVARRETE
                         Fi/itNdm&    MiddleMame   Lsst Nanu
                                                                                                       Caso number istm»n)_




     3. 3,       Make;                                         Who has an interest in the property? Chockone.           Do not deduct s^curyd claims or exomplions. Put
                                                                [-1 Debtor1 only                                        Iho amount of any secursd claims on Schedule D:
                 Model:                                                                                                 Creditors Who Have Claims Socurod by Propeity.
                 Year:
                                                                Q Doblor 2 only
                                                                Cl Debtor 1 and Debtor 2 only                           Current value of the       Current value of the
                 Approximate mileage:                                                                                   entire property?           portion you own?
                                                                a At leastoneofthodebtorsandanolhor
                 Other Information:

                                                                a Chocltifthisis conimunily property(sco
                                                                   instructions)
             i__.,..

     3. 4.   Make:                                             Who has an interest in the property? CheckODO.          Do not deduct secured claims or exemplions. Pul
                                                                                                                       the amount of any secured claims on Schedule D:
             Model:                                            a Debtor1 only                                          Creditors Who Have Claims Secured fly Property.
                                                               Q Debtor2 only
             Year:
                                                               Q Debtor 1 and Debtor Z only                            Current value of the        Current value of the
             Approximate mileage:                                                                                      entire property?            portion you own?
                                                               a At least ono of (ho debtors and anolhcr
             Other information:
                                                               C] Check if this is community property (soc
             i                                                    instructions)




4. Watcrcraft, aircraft, motor homes, ATVs and other recreational vuhiclus, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal walorcrall, fishing vussuls, snowmobiles, motorcycle accossorios
    Q No
    a Yes

    4. 1.    Make:                                             Who has an interest in the property? Chock unc-         Da not deduct secured claims or exemplion;;, Pul
                                                               a Debtor 1 only                                         ihB amounl of any secured claims on Schedule D:
             Model:                                                                                                    Creditors Who Have Claims Seawedby Property.
                                                               Q Doblor 2 only
             Year:
                                                               Q Debtor 1 and Debtor 2 only                            Current valuo of the        Current value of the
             Olher information:                                Q At least one of the debtors and another               entire property?            portion you own?

                                                               a Check if this is community property (sco
                                                                  instructions)



   If you own or have more than one, list here:

    4.2.     Make:                                             Who has an intercsl in the property? Check one.         Do nol deducl secured claims or exeinplions. Pul
                                                               a Debtor 1 only                                         Ihti iimounl o( any socurad claims on Scliadule D:
             Model:                                                                                                    Credilots Wtw Havo Claims Secured by Property.
                                                               a Doblar 2 only
             Year:                                                                                                     Current value of the       Current value of the
                                                               Q Debtor 1 and Ucblor 2 only
             Olhor information:                                                                                        entire property?           portion you own?
                                                                  At least ono of Iho dcblors and anolhor



                                                               a Checkif this is communityproperty (sco
                                                                  instructions)




5. Add the dollar Value of the portion you own for all of your entries from Part 2, including any entries for pages                                 6000.00
   you havo attached for Part2. Write that number here




Official Form 106A/B                                           Schedule A/B: Property                                                                     page 3




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                 JESSICA LOREN GAVARRETE
  DBblor1        ^:^\Z:»7'                   ^^[^. S^-^- --                                       Casenumber ,,»^,_

             Describe Your Personal and Household Items

                                                                                                                            Current value of the
 Doyouownorhaveanylegalorequitablointerestin anyofthefollowingitems?
                                                                                                                            portion you own?
                                                                                                                            Do nol deduct secured claims
                                                                                                                            or exemptions.

6. Household goods and furnishings
    Examploa: Major appliances, furniture, llnons. china, kilchenwaro

   S^. Describe.........HOUSEHOLDGOODS,FURNISHING,KITCHENWARE                                                                    5000.00
                              APPLIANCES
7. Electronics

    Examples: Televisions and radios; audio, video, stereo, and digital Equipment; computers, printers, scanners; music
                 collections;electronicdevicesincludingcell phonos, cameras, mediaplayers, gamos
    a No
   KlYes. Doscribs.......... CELLPHONE, FLAT SCREEN TV                                                                            1000. 00

8. Collectibles of value

    Examples:Antiquesandfigurines:paintings, prints, or olhorartwork; books, pictures, or otherart objects;
                 stamp, coin, or baseball card collodions; olhsr collodions, memorabilia, collecliblcs
     No
   a Yes. Describe..........!

9. Equipmentfor sports and hobbies
   Examples: Sports, pholographic, exorcise, and other hobby oquipmcnl; tiicycteis, pool lablos, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments
   s No
   a Yes. Describe.

10. Firearms

   Examplos: Pistols, rifles, shotguns, ammunition, and related equipment
  Xl NO
   Q Yes. Describe.

n. Clothes
   Examples: Everyday clothos, furs. leather coals, dusigncr wuar, sliuus, acucssorius

   S?o°s.Do.cribo..........EVERYDAYCLOTHES                                                                                         500. 00

12.Jewelry
   Examples;Everydayjewalry,costumejewelry, engagomcntrings,weddingrings.hoirtoomjewelry, watchss,gems,
               gold, silver
     NO
   Q Yes. Describe.

13. Non-farm animals

   Examples: Dogs, cats, birds, horses
   Kt NO
   a Yes.Describe...........

14. Any other personal and household itoms you did not already list, including any health aids you did not list
  S No
      Yes. Give specific
      information.

15.Add the dollarvalue ofal) of your entries (rom Part 3, including anyentries for pagesyou have attached                   s     6500. 00
  for Part 3. Write that number here



Official Form 106A/B                                        Schodulo A/B: Property                                                       page 4




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 Dobior1            JESSICA LOREN GAVARRETE                                                              Caso number i?hra»n)_
                     Fifil Naino        MiddtoNamo




                Describe Your Financial Assets


Do you own orhavaanylegal or equitable interest in anyofthe following?                                                                    Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do nol deducl secured daiins
                                                                                                                                          or Qxompli&ns.


16.Cash
   ExamplBs: Money you have in your wallcl, in your homo, in a safe dcposil box, and on hand when you file your petition

   a No
   i Yes..                                                                                                              Cash:



17. Deposits of money
   Examplos: Checking, savings, or other financial accounts; ccrtificalcs of deposit; shares in crodil unions, tirokorago houses.
                     and other similar institutions. If you have multipte accounts wilh tho same inslilulion, lisl each.
   D No
   ^ Yes..

                                        n.,.c.oc.ngaccount                  NAVYFEDERALCU                                                  s 300. 00
                                        17.2. Checking accounl:                                                                            s

                                        17.3, Savings account:                                                                             s

                                        17.4, Savings account;                                                                             s_
                                        17.5. Certificates of deposit:                                                                     s

                                        17.6. Other financial account:                                                                     s

                                        17.7. Other finanuat account:                                                                      s_
                                        17.8, Olhcr financial accounl:                                                                     s_
                                        l7.g. Olhor financial account:                                                                     s




18. Bonds, mutual funds, or publicly traded stocks
  Examples:Bondfunds, investmonl accounlswithbroksragofirms, moneymarketaccounts
        No
   Q Yes.................               Institution or issuer namo:




19. Non-publicly traded stock and intorosts in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

       No                               Namoo( entity:                                                                 % ol uwncrsliip:
   a Yes.Givespecific ___                                                                                              0% "
       information about                --                            '         -~~--"-                                T-;'""1--'
       thorn.........................   _                                          _""_"__. _.                         ^Z°___%
                                                                                                                       0%          %




Official Form 106A/B                                                      Schodulo MB: Property                                                        page 5




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                                                                          Main Document    Page 7 of 44
  Debtor1               MARIATERESAREITORROMERO
                      FiraiName         Middle Njnif             l. isiN^iiu'
                                                                                                        Caso numberwtmwr.;__




 20,Govornmcnt and corporoto bonds and other negotiable and non-nogoliablc instruments
    Nogoliablg instruments include personal chocks, cashiers' checks, promissory nolos, andmoney orders.
    Non-nogoliable instrumonts are those you cannol transfer lo somoono bysigning or delivering them".
    S No
     1-1 Yes. Give specific             Issuername:
        infarnnation about
        them.......................                                               -      .. _ ".




 21. Retirement or pension accounts
   Examples: Interests in IRA. ERISA, Kcogh, 'lOI(k), 403(b), thriftsavings accounls, or olhor pension orprofit-sharing plans
   Xl No
    a Yes. Listeach
        account separately.            Type o( account:            Instilution name:

                                       'IOI(k)or similar plan:                                                                  s

                                       Pension plan:                                                                            s

                                       IRA:                                                                                     s

                                       Kollrcniuni aucounl:                                                                     g

                                       Kcogh:                                                                                   s_
                                       Additional accaunl:                                                                      s.
                                       Additional account:                                                                      s



22, Security deposits and prepayments
   Your share of all unused deposits you have made so thai you may continuo service or use from a company
   Examples:Agreementswithlandlords, prepaid rent, publiculililies (electric, gas.water), lolocommunicalions
   companies, or others

   Xl NO
   a Yes.                                                    Inslilution name or individual:

                                       Electric

                                       Gas:

                                       Healing oil:

                                       Security deposit un rental unit;
                                       Prepaid ryni:

                                       Toiophono:

                                       Water:

                                       Rented furniture:

                                       Othor:




23.Annuities (A contract tora poriodic payment of money to yau, either for lifo or for a number of years)
   S No
       YBS .........................   Issuer name and dtiscription:




Official Form 106A/B                                                            Schedule MB; Property                                page 6




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 Debtor 1
                 JESSICA LOREN GAVARRETE
                FiqjtNanW     MiddloMama
                                                                                                  Case numbor isimM^



24. Interests in an education IRA,In an account in a qualified ABLEprogram, or undera qualified state tuition program.
   26 U. S.C. Sg 530(b)(1), 529A(b), and 529(b)(1).
   St No
   .




                                     Institution name and descriplion. Soparately nic tho records of any inlorQsts. 11 U. S. C. g 521(c):




25,Trusts, equitablB or future interests in property (other than anything listed in line 1), and rights or powers
   cxorcisable for your bcnofit
   S No
   a Yos. Givespecific
       information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intollcclual property
   Exsmplos: Internetdomain names, wcbsitcs. proceeds from royallius and licunsing agrocmunls
   a No
   Q Yes. Give specific
       information about them....



27. Licenses,franchises, and other general intangibles
    Examples'. Buildingpermits, exclusive licenses, coopcralivc associationholdings, liquor licenses, professional licenses
   Sl No
   a Yes. Give specific
       information about them....



Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or axemplions.

2B. Tax refunds owed to you
       No
   Q Yes.Givespocilicinformation                                                                                 l.miaral:
             about them, including whether
             you already filed the rolurns                                                                       Slate: S
             and the tax ysars.
                                                                                                                 1-ocal: S


29. Family support
   Examples:Pastdue or lump sum alimony, spousal support, child support, maintenance, divorce setllomenl, properly sotllomonl
  Xl NO
   Q Yes. GivespecificInformation.
                                                                                                                Alimony;

                                                                                                                Maintenance:

                                                                                                                Support

                                                                                                                Divorce sotllomcnt:

                                                                                                                PropQfly sclttcmcnt:

30. Other amounts someone owes you
   Examples: Unpaid wages, disabilily insurance paymonls. disability bcnudts. sick pay. vacalioii pay, workors' coinponsalion.
               Social Sscurily benefits; unpaid loans you mado lo someone olso
  S No
   Q Yos. Give specific Information.



Official Form 106A/B                                        Schedule A/B: Proporty                                                                    page?




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. o^iori                JESSICA LOREN GAVARRETE
                        '^S^---^SS^~~ ~~~ , «, N^~--                                                                                            Ca5onumhcf(,»^L_..___                                 "___


 31, Interests in Insurancepolicies
      Examples: Health, disability, orlife insurance; health savings accounl (HSA); crodil, homeowncr's, or rcnlor's insuranco
      Ki No
      Q Yes.Namotheinsurancecompany ,-""".,"..
                  '                                          ".,.".                               " .. .
                      of-eachpoiicy'andul'ist'Tis'^lu'o...
                                                   company                             nalne:                                                      Beneficiary:                                  Surrr.. r, clc, r   or   refund   value:



                                                                                                                                                                                                 s

                                                                                                                                                                                                 s



 32. Any interest in property that is due you from someone who has died
      Ifyouarethebeneficiaryofa livingtrust, expectproceedsfroma lifeinsurancepolicy,or arccurrentlyentitledto receive
      property because someone has died.
      a No
           Ygs. Give specific Information.
                                                                                                                                                                                                 s_

33. Claims against third parties, whether or not you havo filed a lawsuit or made a demand for payment
    Examples:Accidents,employment disputes, insuranceclaiiiis,orrights lo sue
     S No
     Q Yes. Describe each claim.
                                                                                                                                                                                                 s_
34.Othercontingentandunliquidatedclaimsofovury nature, includingcounterclaimsofthe debtorandrights
     to set off claims
     a No
     Q Yos. Describe each claim.




35.Any financial assets you did not already list
     Kl NO
     Q Yes. Give specific Information.


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Writo (hat number here ..................................................................................................................................................        s 300. 00



                      Describe Any Business-Rclatcd Property You Own or Have an Interest In. List any real estate in Part 1.
37.Do you own or haveanylegal or equitable interest in any busincss-rclgtedproperty?
    S No. Goto Part6.
    a Yes. Golo line 38.
                                                                                                                                                                                            Current value of the
                                                                                                                                                                                            portion you own?
                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                            or excrnpltons,

38.Accounts raceivabto or commissions you already earned
    D No
    Cl Yes. Doscribo..,,...
                                                                                                                                                                                            s_
39. Office equipment, furnishings, and supplies
    Examfiles: Busincss-rotatad connputors, sofiwarc, modems, printers, copiors. fox machinos, rugs, tolophonos, desks, chairs, oloctronic devices
    a No
    a Yes, Doscribs.......
                                                                                                                                                                                            $.                                _.



OfficialForm 106A/B                                                                    Schcdulo A/B:Property                                                                                                     pggo g


               Case 2:19-bk-10487-EPB                                               Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                                                                           Desc
                                                                                    Main Document   Page 10 of 44
 Debtor1         JESSICA LOREN GAVARRETE                                                   Case number 1.,'t.mr.
                RtralMame     Middlff. Name         La.-il Naiw




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    a No
    a Yss.Describe.......


41.Inventory
   a No
   a Yes.Describe.......


42.Interests in partnorships or joint ventures
   a No
   a Yss,Describe....... Nameofenlily:                                                                       % o; ownership:

                                                                                                                     y- s
                                                                                                                     % s
                                                                                                                     _% s

43. Customer lists, mailing lists, or other compilations
   a No
   a Yes.Doyourlistsincludepersonaltyidentifiableinformation(asdofincdin11 U.S.C.§ 101(41A))?
            a No
            Q Yos. Describe........


44. Any business-related property you did not already list
   Q NO
   Q Yes. Give specific
       information.........




45. Add the dollar value of all of your entries from Part S, including any entries (or pages you have atlachcd                       0. 00
   for Part 5. Write that number here




             Describe Any Farm- and Commercial Fishing-Relatcd Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or cquitabla interest in any farm- or commorcial fishing-rclatod property?
  S No,GotoPart7.
   a Yes. Go to line 47.
                                                                                                                               Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured claims
                                                                                                                               or exemptions.
47 Farm animals
   Examples: Livoslock, poultry, fann-raiscd fish
   a No
   a Yes.




Official Form 106A/B                                              Schedule A/B: Property                                                     page 9




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                                                                  Main Document   Page 11 of 44
                   JESSICA LOREN GAVARRETE
  Debtor 1         '___
                    FnlNiuna
                             "~ ^.MiddleManic
                                    _. ~"                     ~~~ '.l.nsi
                                                                       ------   _
                                                                          N;KIIU"-'~-^
                                                                                                                                           Case number(,»"»";_'---.--


 48.Crops-cither growing or harvested
    a No
    0 Yes.Givespecific
         information.


4g. Farm and fishing oquipmont, implcmonts, machinery, fixturos, and tools oflrgdc
    a No
    a Yes.,
                                                                              -J




50.Farm and fishing supplies, chemicals, and feed
    a No
    Qvos.


51,Any farm-and commercial fishing-rolatcd property you did not already list
   a No
    Q Yos. Give specific
        information.


52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                      0. 00
   for Part 6. Writa that number here ................................................................................................................................................. -^




                Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you havo other property of any kind you did not already list?
   Examplvs:Seasontickots, country club mcrnborship
   S No
   a Yes, Give specinc
        Information.




54. Add the dollar value of all of your entries from Part 7, Write that number here                                                                                                             $    0.00


                List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2                                                                                                                                                  .
                                                                                                                                                                                          ->   s- 46000. 00

56. Part 2: Total vehicles, line 5                                                                         s     6000. 00

S7. Part 3: Total personal and household items, line 15                                                    $     6500. 00

58. Part 4: Total financial assets, line 36                                                                $        300.00

59. Part 5: Total businoss-rclatcd property, line 45                                                      $         0. 00
60.Part 6: Total farm. and fishing-rclatod proporty, line 52                                              s         0. 00
61.Part 7; Total other property not listed, line 54                                                    +s
                                                                                                                   0.00

GZ. Total personal property. Add lines 56 through 61.                                                     s    12800.00                    Copypersonal property total-> +$ 12800. 00

63.Total of all property on Schcdulo A/B. Add lino 55 + line 62.                                                                                                                                 58800. 00


Official Form 106A/B                                                               Schodulo A/B: Property                                                                                               page 10




             Case 2:19-bk-10487-EPB                                                Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                                                            Desc
                                                                                   Main Document   Page 12 of 44
   Fill in this informationto identifyyourcase:

   Debtor 1       JESSICA LOREN GAVARRbi
                     FkilNmn                MtMn Name                   LastNjw)

   Debtor 2
   (Spouse, Ifting) FntNmn                  MtddtoNamo                  Last Namo

   United Stales Bankruplcy Court forthe:               Dislrict of ARIZONA
   Case number
   (If known)                                                                                                                            Q Checkifthis is an
                                                                                                                                                amended filing


 Official Form 106C
 Schedule C: The Property You Claim as Exempt                                                                                                            04/19
 Beascompleteandaccurateaspossible.Iftwomarriedpeoplearefilingtogether,bothareequallyresponsibleforsupplyingcorrectinformation.
 UsingIhepropertyyoulistedonScheduleA/B:Property(OfficialForm106A/B)asyoursource,listthepropertythatyouclaimasexempt.Ifmore
 spaceisneeded,filloutandattachtothispageasmanycopiesofPart2;AdditionalPageasnecessary.Onihetopofanyadditionalpages,write
 your nameandcasenumber (ifknown).

 ForeachItemofpropertyyouclaimasexempt,youmustspecifytheamountoftheexemptionyouclaim.Onewayofdoingsoistostate a
 specific dollar amount asexempt. Atternatlvely, you mayclaim thefull fairmarkat valua ofthe property being gxemptod up to the amount
 ofany applicable statutory limit. Some exemptions-such asthose for health aids, rights to receive certain benefits, and tax-exempt
 retirement funds-may be unlimited In dollar amount. Howavor, if you claim an exemption of 100% of fair market value undor a law that
 limitstheexemptiontoa particulardollaramountandthevalueofthepropertyis determinedto exceedthatamount, yourexemption
 would be limited to the applicable statutory amount.

  Part 1;       Identifythe Property You Claim as Exempt

  1. Whichset ofexemptions areyou claiming? Checkoneonly, even ifyourspouseis filingwithyou.
       Youareclaimingstate andfederal nonbankruptcyexemptions. 11 U.S.C. § 522(b)(3)
      Q Youareclaimingfederalexemptions. 11 U.S.C.§ 522(b)(2)

  2. Foranypropertyyou list on ScheduleA/Bthatyou claim as exempt, fill In tha information bolow.

       Briefdescriptionofthe propertyandline on Currentvalueofthe                   Amountofthe exemptionyou claim           Specificlawsthatallowexemption
       Schedule A/B that lists this property             portion you own
                                                         Copy me value from         Check only one box for each exemption.
                                                         Schedule A/B

      Brief
      description:
                         PERSONALPROPERTY g 5000. 00                                a S 5000. 00
      Line from                                                                     D 100%offairmarketvalue,upto
                                                                                       any applicable statutory limit        A. R. S. 33-1123
      Schedule A/B:

      Brief              ELECTRONICS                        1000.00
     description:                                                                   S]$ 1000. 00
     Line from                                                                      a 100%offairmarketvalue, upto
      Schedule A/B:                                                                    any applicable statutory limit        A. R. S. 33-1123

     Brief                CLOTHES
     description;                                        $__500. 00                 13$ 500.00
     Line from                                                                      a 100%affairmarketvalue,upto
     Schedule A/B:                                                                     anyapplicablestatutory limit          A.R. S. 33-1125 1

 3. Are you claiminga homesteadexemption of more than $170,350?
     (Subjecttoadjustmenton4/01/22andevery3 yearsafterthaiforcasesfiledonorafterthedateofadjustment.)
    S] No
     Q Yes.Didyouacquirethepropertycoveredbytheexemptionwithin1.215daysbeforeyoufiledthiscase?
          a No
          D Yes


Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                              page 1 of.




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 Debtor1          JESSICA LOREN GAVARRETE                                                      Case number vfknown)
                  FlnlKimo     MlddtoHama         LaslKamo




  Part 2:       Additional Page

       Briefdescription ofthe property and line          Currant value ofthe   Amount ofthe exemption you claim        Specific laws that allow exemption
       on Schedate A/B that lists this property          portion you own
                                                         Copy the value from   Check only one box for each exemption
                                                         Schedule A/B

      Brief                  AUTO 2016
      description:                                           $6000. 00         (S $6000. 00
      Line from                                                                Q 100%offairmarketvalue, upto            A.R. S. 33-1125(8)
      Schedule A/B:                                                               any applicable statutory limit

      Brief                  BANKACCOUNT                       300. 00
      description:                                                             S] $300.00
      Line from                                                                a 100%offairmarketvalue. upto
      Schedule A/B:                                                               any applicable statutory limit       A.JV.O. 33-1

      Brief                  REALPROPERTY
      description:                                             46000. 00       g|$ 46000. 00
      Line from                                                                Q 100% offair market^ value, up to
      Schedule MB:                                                                any applicable statutory limit       A. R. S. 33-1101

      Brief
      description;                                                             a$
      Line from                                                                a 100% offair market value, up to
      Schedule A/B:                                                               any applicable statutory limit

      Brief
     description:                                                              a$
      Line (rom                                                                a 100% of fair market value, up to
      Schedule A/8:                                                               anyapplicable statutory limit

      Brief
     description;                                                              a$
     Line from                                                                 a 100% offair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description;                                                              a$
     Line from                                                                 a 100% offair market value, up to
     Schedule A/B:                                                                any applicable statutory limit

     Brief
     description:                                                              a$
     Line from                                                                 Q 100% offair market value, up to
     Schedule A/B:                                                                any applicable statutory limit


     Brief
     description;                                                              a$
     Line from                                                                 Q 100%offairmarketvalue, upto
     Schedule A/B:                                                                any applicablestatutory limit

     Brief
     description:                                                              a$
     Line from                                                                 Q 100% of fair market value, up to
     Schedule A/B:                                                                any applicable stBlulory limit

     Brief
     description:                                                              a$
     Line from                                                                 Q 100% offair market value, up to
     Schedule AS;                                                                any applicable statutory limit

     Brief
     description:                                                              a$
     Llnefrom                                                                  Q 100%offairmarketvalug,upto
     Schedule A/B:                                                               any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                            2_of_
                                                                                                                                       page




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 Fill In this Information I

 oct>,o, i                   JESSICA LOREN GAVARRETE
                             FnlKd/wo                        TbtftfnM^T'                      ifiitN. llttff

 Debtor 2
 (S&autO.     il filj flO)   Fi^iN-iwo                        f.tiijdlo Name                  L.-iit t^inu


 United Slates Bankruptcy Couit for the: _                                     District of. _f>rwr

 Case nuinbcr
 (II known)
                                                                                                                                                                           1-1 Check if this is an
                                                                                                                                                                               amended filing

 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                  12/15
 Bo as complete and accurate as possible. If two married people aro filing together, both arc equally rosponsiblo for supplying correct
 information. If more space is needed, copy the Additional Pago, (ill it out', number the entries, and attach it to this form'. On the top o< any
 additional pages, write your name and casciiumbcr(if known).

1. Do any creditors have claims secured by your property?
   D No.Checkthisboxandsubmit this formto thecourtwithyourotherschedules.Youhavenothingciscto reportonthisform,
   £) Yes. Fillin alloftheinformationbelow.

Part It            List All Secured Claims
                                                                                                                                             Column A              Column B               Column C
2. List all securedclaims. Ifa creditorhasmore ihanonesecuredclaim, list thecreditorseparately Amountofclaim                                                       Value of collateral    Unsecured
   foreachclaim. Itmore thanone creditor hasa particular claim, list the other creditors in Part2. Doroi'dcduc'i'ih'e                                              that supports this     portion
   As much as possible, list ths claims in alphabetical order according to (he creditor's name.                                              value olcoUatcf;)T.   claim                  K any
2-^ CALIE3ER HOME LOANS Describe Ihupropertythaisecures theclaim:                                                                            .
                                                                                                                                                 170748.           s _2170QQ, QO         s 46748. 00
   Crcdilor's ^faInc

   POJiQ2LgJjaflfi.
   Number
        Strcci
                  3L.
                                                                          is ol the date you file, the claim is: Check all ihal apply.
                                                                                Contingent
    DALLAS                               TX           75261              Q Unliquidalod
   Cily                                       State    ZII'Cudu          (-1 Disputed
 Who owes the debt? Check one.                                           Naluro of lie". Cluck all tlnl apply,
      Debtor 1 only                                                             An agreement you made (yucli as mortyago or sccufcd
 CJ Dsblor2only                                                                 cai loan)
 LJ Debtor 1 and Debtor 2 only                                           Q Siatutory lien (such as tax lien, mechanic's lien)
 Q At lcaslone of ihcdebtorsandanother                                   LJ Judgment lion Iron) a lawsuii
                                                                         LJ Other (including a riglil lo oflset)
 Q Check if this claim relates to a
      communily debt
 Date debt was incurrod                                                  Last 4 digits of account number
-"I ALASKAUSAFCU                                                         Describe the property that secures the claim:                   s25047.00                  iOOKLOO_SJ9Q47.00
   Cicdilor's Namo

    PO BOX 196613

                                                                        As of the dale yoii file. the claim is: Check all that aoply.
                                                                                Contingent
   ANCHORAGE                             AK            99519             U UnliqiiiJalcd
   Cily                                       SUIO
                                                           ~-oao        U Uisputcd
 Who owos the debt? Check one.                                          Nature of lien. Cliock alt llilil apply.
 Kl Debtor1 only                                                                An agreement you mado (such as mortgage or secured
 Q Debtor2 only                                                                 car loan)
 U Dcblor1 andDebtor2 only                                              LJ Stolulory lien (sucli as lax lien. mechanic's lien)
 U At loasi ono o( the dobtors and another                              LJ Judgment fion from a lawsuit
                                                                        Q Otlioi(Includinga righttoollscl)
 0 Chock if (his claim relates to a
    community debt
 Date debt was mcurrcd                                                  Last 4 digits of account number
                                                                                                                                             195795.00
   Add the dollar value of your entries in Column A on this page. Writn that numbor here:
                                                                                                                                         .




Official Form 106D                                            Schedule D: Croditors Wlio Have Claims Secured by Property                                                       page 1 of_




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 Debtor 1       JESSICA LOREN GAVARRETE                                                          Cayc fiumber (/^.. y^»)


                 List Others to Bo Notified for a Debt That You Already Listed

   Usathispagnonly if you haveothersto be notifiedaboutyourbankruptcyfora dobt Ihatyoualreadylisted in Part1. Forexample, if a collection
   ?go^cyls tl"rin9.to coltectfrom youfora debtyouowetosomconoelse,listthecreditorInPart1,andthenlist thecollection agencyhere.Similarly,if
   you have more than one creditor for any of tho debts that you listed in Part 1, list the additional creditors here. If you do not have additional person's to
   be notified for any debts in Part 1, do not fill out or submit this pago.

 D                                                                                         On which line In Part 1 did you enter the creditor?
       Name
                                                                                           Last 4 digits of account number


       Numbor        Street




       City                                          Stale            ZIPCode

D                                                                                          On which line in Part 1 did you cnturthc creditor?
       Name                                                                                Last 4 digits of account number


       Number        Street




       Cily                                          Stato           ZIP Code

a                                                                                          On which line in Part 1 did you cnlor tho croditor?
       Name                                                                                Last 4 digits of account numbur


       Number        Street




       Cily                                          Stale           ZIPCoda

D                                                                                          On which line in Part 1 did you enter the crcdttor?
      Name                                                                                 Last -t digits of account number


      Number         Street




      City                                           Slalo           ZIPCode

D                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                 Last 4 digits of account nuinbc'r


      Number         Slroot




      City                                          Stale            ZIPCode

a                                                                                         On which line in Part 1 did you enter tho crociitor?
      Name                                                                                Last 4 digits of account numbur


      Number      Slroot




      City                                          Slate            ZIP Coda


Official Form 105D                        Part 2 of ScheduleD: Creditors WhoHave Claims Secured by Property                                 pagu _ of




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                                                             Main Document   Page 16 of 44
       Debtor 1
                          JESSICA LOREN GAVAu                                 iK
                                                      Midd^NanTti
       Debtor 2
       (SpO USO, if filinQ)   FinlName



       UnitedSlatesBankruptcyCourtforthe:                       .
                                                                    Districtof . ARIZONA
       Case number                                                                                                                                             (-1 Checkif this is an
       (If known)
                                                                                                                                                                   amended filing

   Official Form 106E/F
   Schedule E/F; Creditors Who Have Unsecured Claims                                                                                                                          12/15
   BO."comp'Bte-a"d.ac.curate_aspossibI°-uscpart1 for."°d't°"withPRIORITYclaimsandPart2 forcreditorswithNONPRIORITYclaims.
   ^t. t^o,t^.rp^yl° a.nyM e^0^ contracl. unol(pircd           sor        lcascs that coultf rcsult in    claim; Alsolist'oxocutory contacts ^Sc/, ^;r"
                                                                                                                       a

   ^^^LO mcj,al.Fom^owB^a"do^sc/'Gdu.                            /e^
   ^ed.i!oirs.wt.h.partla liy. s°. cured, dai, m. out.
                                                  s"lat a''elistcd '" Schodulo D: editors Who Have Claims Socurod
                                                                                                                             by Proparty'. '\f'mo^ spac'oVs"
   noo. dod:, "py, "10p-Brt. y°"_"DOC1'"""             "umbcr thc °"'"cs .    It'" boxos
                                                                                     "       the loft. Atlach the Con'tinu. i'iro n'Pa'geTo t'hi's"paacl"0n' ^c I
                                                                                                      on

  any additional pages, wrilo your name and case number (if known).                                                              " --...... -.. -... -3-. " ., "" ^^.
                     List All of Your PRIORITYUnsucurcd Claims

   1. Do any creditors have priority unsecured claims against you?
                 No. Go to Part 2.
         a Yes.
   z" Lisla".ofyourpl'!ority .u"securcd claims-..lfa creditorhasmwGtha"°nePrforityunsecured claim, listthecreditorseparately foreachclaim. For
                       1,idenlifywhattypeofclaimitis. Ifa claimhasbothpriorityandnonpriorityamounts, listthatclaimhereandshowboFhnnorit
        nonpriority amounts As muchas possible,jist theclaims inalpliabetical order according to (he credilor-s name. Ifyou have-mo're"lhan"twoonont'
        unsecuredclaims,fill oultheConlinuationPageofPart 1. K morethanonecreditorholdsa particularclaim,lisltheothercredilOf'sin'ParlY
        (Foranexplanationofeachtypoofclaim, seethe Instructionsforthisformin theinstructionbooklet.)
                                                                                                                                            Total claiin    Priority     Nonpriority
                                                                                                                                                            amount       amount
l2.1

          I'rlortly Crodiior's Name
                                                                        Last 4 digits of account number                                     s__.. s.
                                                                        When was tho debt Incurred?
          Numbur               Stroot


                                                                        As of the date you file, the claim is: Clicck all Ihatapply
          Cily                           Stolu        W Code
                                                                        a Conlinyani
                                                                        Cl Unliquidatoct
          Who Incurrod the debt? Chock one.
                                                                            Disputed
          0 Debtor1 only
          Q Debtor2 only                                                Type of PRIORITY unsecured claim:
          a Doblor1 andDob(or2only
                                                                        U Dornoslicsupport obligations
          1-1 At leastoneofthedebtorsand another
                                                                        Q TaxusandCurtainollicifdofalsyouownthegovurnmcnt
          Q Chock ifthis claim ts for a community debt
                                                                            Cloims for death or personal injury whileyou were
          Is the claim subject to offset?                                   inloxicaled

          a No                                                          LJ Other.Specify
          QYOS

          Priority Creditor's Name
                                                                        Last 4 digits of account number _ _ _                         _ ;
                                                                        When was the debt incurred?
                              Slroot
                                                                        As of the date you file, Ihc claim is: Gliuck ;ill Ihalapply
                                                                        LJ Conlingonl
         Citf                            Stall)                         U Unliquidated
         Who incurrud the debt? Choclt one.                             t_] Disputed
         a Debtor1 only
                                                                       Type of PRIORITY unsecured claim:
         Q Debtor2 only
         Q Debtor 1 andDebtor2 only                                         Duinoslic support obligations

         1-1 At least one ofthe debtors and another                     L-i Taxesandconainolhordebtsyouowothegoverninonl
         Q Chock if this claim is for a community dcbl                      Claims lor death or porsoti;)[ injttry \vli((c you wore
                                                                            Intoxlcalcd
         Is tho claim subject to offset?                               a Other. Specify
         a No
         a yes

Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of




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                                                                      Main Document   Page 17 of 44
  Debtor 1
                     JESSICA LOREN GAVARRETE
                                                                                                                  Cascnunibcri. ii. -iTO..,)
                     FtnlNamo          MiifoloNamu                l.att NAnut-'


                    List All of Your NONPRIORITYUnsecured Claims

   3. Do any creditors have nonpriority unsecured claims against you?
              No.Youhavenothingto reportin Ihispart.Submitthisformto thecourlwilhyourotticrschcdulos.
              Yos


  '*. List-a"ofyow "onP.riori. ty unsecured claims in the alphabetical order of (he creditor who holds each claim. Ifa creditor hasmore thanone
                            aim.listthecreditorseparatelyforeachclaim.Foreachclaimlisted,identifywhattypgofclaimit is. Donotlist'clair
      'nc!udBdln part 1JfTore .ha"_one cr?ditor holds a particular claim, list the othercreditors in Part3'. lf you hav8more"than''lh7eo'nonprio^v'un^eci7erd
                 nil out the Continuation Page of Part 2.


                                                                                                                                                                            Total claim
        LABCORP
                                                                                           Last 4 digits af account number
       Nonpriorily Croditor's Niiino                                                                                                                                      s_653.00
        POBOX2240                                                                          When was tho ciubl incurred?
       Number            Street
        BURLINGTON                                   NC            27216
       City                                               Sliilo           /. IP Cod t)    As of (he date you file, the claim is: Chockall thatapply.
                                                                                           XJ Conlingcnl
       Who incurred the debt? Chock one.                                                   LJ Unliquidated
              Debtor 1 only                                                                LJ Disputed
       Q Debtor2 only
       Q Debtor1 andDebtor2 only                                                           Typt? ofNOMPRIORITY unsecured claim:
       d Atleastoneofthedebtorsand anolhcr                                                 LJ Sludcnlloans
       a Chock if this claim is for a communily debt                                       LJ Ohligalionsnrisiiigoutofa sopartilionagruomuntof divorce
                                                                                               that you did nul   roporl   as   priunly   [:kj imt>

       Is the claim subject to offset?                                                         Dobts lo punsiun or ^r^<il_s. t1i)r-tr}<3 plans, and other similar debts
      X] No                                                                               U Other.Specify_,_ MEDICAL
       a vos

        MCM                                                                                                                                                                7555.00
                                                                                           Last 4 digits of account number
       Nonpiionly Ciodltor's Name                                                          When was the debt incurred?                    9/2018
       350CAMINODELAREINASUITE100
       Number           Street

      SANDIEGO                                       CA           92108                    As of the date you file, Ihc claim is: Chock all Ihal apply,
       Cily                                                                /.IP Coda
                                                                                               Contingent
       Who Incurred the debt? Check one.                                                   LI Unliquidalud
       BQ Debtor1 only                                                                     LJ Uispulcd
       Q Debtor2 only
       Q Debtor 1 and Deblor 2 only                                                       Typo of NONPKIOK11 Y unsecured claim:
              At least one of the debtors and gnothor                                      LJ Student loans
                                                                                           LI Obligations arising out of a scpEifation agrcomonl       or   divorce
       Q Chock if this claim is (or a community debt                                          ihal you did not report as priority claims
       Is the claim subject to offset?                                                     U Debts to pension or profil-shnring plans, and other similar debts
      X] No                                                                               X.J OUior. Spodfy.
       QYOS

       MELMEDCENTER                                                                        Last 4 digits of account number
      NonpriorityCroddor's Name                                                                                                                                            100.00
                                                                                          Whun was thu dubt incurrctl?                5/2019
       4548E CACTUSRDSTE940
      Nunibor           Stroot

      SCOTTSDALE                                     AZ           85254
      City                                                ilalo            Zll' Code      As of U\c date you (ilo, the claim is: Chockall that apply.

      Who incurred tho dobt? Chack one.                                                        Contingent
                                                                                          Q Unliquidalod
      B Debtor 1 only
                                                                                          0 Uispulcd
      Q Debtor2 only
      a Debtor1 andDobtor2 only
                                                                                          Typo of NONPRIORITYunsecured claim:
      Q A( least ono ot tho debtors and anoUicr
                                                                                          U Sludcnl loans
      D Check if this claim is fora community debt                                            Oblic]<iliwis arising oul of a soparation agruumcfil ur divurcu
      Is the claim subject to offset?                                                         tlitH yuu dtd nol roport as priority claims
     & No                                                                                     Dc&ts to pensionor proDi-sharing plans, and other similnr debts
      a Yes                                                                               X-J Olhcr. Specify _ ._.. M.EDICAL_


Official Form 106BF                                           Schedule E/F; Creditors Who llavu Unsecured Claims                                                               page _ of




              Case 2:19-bk-10487-EPB                                      Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                                             Desc
                                                                          Main Document   Page 18 of 44
  Debtori             IESSICALORENGAVARRETE                                                                Case number i-r^wi
                    Flr»| Namo       M>odiflNamu            Lwt'Nufri



                 Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4. 5, and so forth.                                                            Total claim



 4.4             TRUWESTCU                                                            Last 4 digits of account number                                            , 14269.00
       NonpriorityCreditor's Namo
       1667N PRIESTDR                                                                 When was Iho debt incurred?

       Nvmbor           St/obl
                                                                                      As of the date you file, thu claim is: Chuck ali thiil up;)ly.
       TEMPE                                       AZ            85281
       City                                             Slate            Zll" Code    X-l Contingcnl
                                                                                      CJ Unliquidated
       Who incurred the debt? Check one.
                                                                                      a Uispulcd
              Deblor 1 only
       Q Debtor 2 only                                                                Type ofNONPRIORITYunsocurcd claim:
       D Debtor1 andDebtor2 only                                                      D Sludcnt loans
       Q At toastam oftlia dobtorsandanother
                                                                                      LJ Oblig. ittons ariying out of a suparalion arjrccmcnl or ftivorcu Ihal
                                                                                          yuu did fiol rcporl ys prtonty cioirny
       LJ Checkif thisclaim is fora communitydebt
                                                                                      LJ Dobls to pensionor profit-sharinQplans, and othersimilnrdebts
       Is the claim subject to offset?                                                XJ Other.S(.uci!y_.__CV2019-007728
       X] No
       a yes


4.5                                                                                                                                                                  13.00
                                                                                      Last 4 digits of account number
               SYNERGYRADIOLOGYASSOCIATES                                                                                                                        ,




       NonprlorilyCroditor's Naiiw
       POBOX120153                                                                    When was the debt incurred?
       Numbor           Street
                                                                                      As of the date you lilc, the claim is: Chuck all Ihal apply.
       GRANDRAPIDS                                 Ml            49528
       Ci!y                                             Sl.ila           211' Codo        Contiiigonl
                                                                                      a Unliquictillod
       Who incurred the debt? Check ono.                                              LI Uispulod
       Kl Debtor 1 only
       a Deblor2only                                                                  Type oFNONPRIORITY unsecured claim:
       Q Debtor 1 and Debtor 2 only                                                   LJ Sludont loans
       a Atloaslonoof thedebtorsand another                                           Lt Oblirinlionsarisiiigout ofa acp.iration agccomcnl.or (.livorcc Ihal
                                                                                          you did iiol rcpoil ?is iiriorily clainis
       Q Chock if this claim is for a community debt
                                                                                      CJ t3cbts to ponslon o^fltQQ^^incj plans, and other similar debts
       Is the claim subject to olfsot?                                                Xj Olhcr.Spccily.._J
       <3 NO
       a Yos

                                                                                                                                                                      1968.00
               TRUWESTFCU                                                             Last 4 digits of account number _ _
       Nonprionty Creditor's Namp
       1667N PRIESTDR                                                                 Whun was tlio debt incurrud?

       Numbor           Slrccl
                                                                                      As of the date you file, the claim is: Chock all thai apply.
        TEMPE _AZ                                                8S281
       City                                                              W Code           Conlfdgunt
                                                                                      LJ Unliquidated
       Who incurred the debt? Check ono.                                              LI Disputed
       X] Debtor 1 only
       Q Debtor2 only                                                                 Type of NONPRIORITYunsecured claim:
       L3 Debtor 1 and Debtor 2 only                                                  U Sludcniloans
       1-1 At leastoneofIhodebtorsand another
                                                                                      U Obligiilions arising out ofa soparation agcconiont Of cfiyorco lha<
                                                                                          you did iiai report as priorily claims
       Q Chock If this claim is for a community debt
                                                                                      LJ Debtsto pensionor profit-shoriiiyplciirts, ^nri alluir similar(Jctits
       Is tha claim subject to offset?                                                &   o. hcr.   spociiy.,,   jEyO LyiNG:_
       B No
       a Yes




Official Form 106E/F                                         Schodulo E/F: Creditors Who Have Unsecured Claims                                                   page _ of




              Case 2:19-bk-10487-EPB                                     Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                                 Desc
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  Doblor 1           JESSICALORENGAVARRETE                                                                      Caso number ((/hiw^_
                     fnl Namo         hRdrfleNsmfl           "Tajil'Nj



                  Yaur NONPRIORITVUnsecured Claims - Continuation Page

  After listing any entries on this page, number them beginningwith 4.4, followed by 4,5, and so forth.                                                             Total claim



 4Z               KOHLS DEPARTMENT STORE                                                  Last 4 digits of account number
                                                                                                                                                                   £151.00,
        Nonprlorlty Croditor's Name

         POBOX3115                                                                        When was the debt incurred?

        Nupnbw           Strocl
         MILWAUKEE                                   Wl           53201                   As of the date you file, the claim is: Chock all thai apply.
        Cily                                              State           Zli'Codo   ~    & Conllngciil
                                                                                          U Unliquidated
        Who Incurred the debt? Check one.
                                                                                          Q Uispulcd
               Debtor 1 only
        Q Debtor 2 only                                                                   Type of NONPRIORITYunscuured claim:
        Q Debtor 1 and Debtor 2 only                                                      U Student loans
        Q At lcasl ono of the doblors and anolhor
                                                                                          U Oblig.lliansarisinyoulofa separationagreementordivorcethai
                                                                                              you   dkl nut   report   as   pf forily ctnimy
        a Chock If this claim is for a community debt
                                                                                          U Debts to pensionor profit-sharinyplans, andother similardebts
        Is tho claim subject to offset?                                                  X-l Other.Spocily_
       UNO
        0 Yes


[4.8
                  NAVYFCU                                                                 Last 4 digits of account number                                           ; 12578. 00
        Nonpriorily Creditor's Name

        820FOLLINLN                                                                       When was the debt incurred?

        Numbtit         Stroot
                                                                                          As of the dale you file, the claim is: Check all thai apply.
        VIENNA                                       VA           22180
        Cily                                              Slala           ZIP Code        a Commgont
                                                                                          Q Unliquidalod
        Who incurred the debt? Check ona,
                                                                                          LI Uisputcd
       JO Debtor 1 only
       a Debtor 2 only                                                                    Type of NONPRIORITYunsecured claim:
       a Ooblor 1 and Debtor 2 only                                                       U Sludcnl loans
       Q At leastoneofIhodebtorsand anolher                                               Lt Obligations arising out of a separation ayrucrncnf or (Jivorco ihnt
                                                                                              you did not report as prionly claims
        Q Chock if this claim is for a community debt
                                                                                          U Debtsto ponslon^Lproffl-sharingplane, andoVi&isimilardcbls
       Is the claim subject to offset?                                                    XJ Olhc,.Sicily..
       X] No
        a Yes

                                                                                                                                                                     536.00
                                                                                          Last 4 digits of account number
                RESOLVEING
       NonpriorityCroditar'a Namo
                                                                                          When was the debt incurred?
        1395NHAYDENRD
       Number           Slroot
                                                                                          As of the date you file, tho claim is: Chock all Ihal apply.
        SCOTTSDALE                                   AZ           85257
       Cily .                                             Slato           ZIP Code            Conlingunt
                                                                                          LJ Unliquidated
       Who incurred the debt? Chock ono.                                                  LJ Disputod
       X3 DebtorI only
       a DobtorZpnly                                                                     Type of NONPRIORITYunsecured claim:
       D Deblor 1 and Debtor 2 only                                                           Student loans
       Q At least one of the debtors and another
                                                                                         U Obligalionsarisingoulofa separationagroomcntordivorceIhal
       Q Check if this claim Is for a community debt                                          you did not report as priority claims
                                                                                         Q ncbis lo pension or profit-slwlng plans, and olhor similar debts
       Is the claim subject to offset?                                                   XJ Other.Specify..
       Xl] No
       a Yes




OfficialForm 106E/F                                           Schedule E/F; Creditors Who Have Unsecured Cialms                                                    page _ of




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   Debtor 1            JESSICA LOREN GAVARRETE
                                                                                                         Case number ^s-iw
                      Pint Name       MiddktNama



                    Your NONPRIORITYUnsecured Claims- ContinuationPage

   After listing any entries on this page, number them beginning with 4.4, followed by 4. 5, and so forth.                                                        Total claim


 11.10
                   ASSOCIATECREDITSERVICE                                             Last 4 digits of account numbor                                            J69.00
          Nonprtofjty Cfodiiof's Np

          POBOX5171                                                                   When was the debt Incurred?

          Number          SIreot
                                                                                      As of the datayou file, the claim is: Check all Ihalapply.
          WESTBORO                                 MA           01581
          City                                          Siato           ar Codo           Conlingcnl
                                                                                      Q Unliquidated
          Who Incurred the debt? Check one.
                                                                                      Q Uispulcd
                 Debtor1 only
          0 Debtor2 only                                                              Type of NONPmORITYunsecured claim:
          Q Debtor 1 and Debtor 2 only                                                U Sludcnl toons
          D Al leastonoof Ihodebtorsandanother
                                                                                      D Obligations arisingoulofa separation agrecmcnl ordivorco that
          Q Chock if this claim is (or a community debt                                   yau did nut report as priority clairny
                                                                                      LJ Ucbtsto pensionorErojil^h.qnpciji.lnns. and oiliersimilardebts
         Is ths claim subject to offset?                                             XJ Olhor.Specie
         £)NO
          a Yes



                                                                                      Last 4 digits of account number
         Nonprtority Crodltors Name
                                                                                      When was the debt incurred?


                                                                                      As of the date you file, tho claim is: Chuck all that apply.
         City                                           Slatn                         Q Conlingont
                                                                                      D Unliquidalod
         Who incurred the debt7 Check one.
                                                                                      LJ Disputed
         Q Debtor 1 only
         Q Dobtor2only                                                               Type of NONPRIORITY unsecured claim:
         a Debtor1 andDebtor2 only                                                    LJ Student loans
         Q At least ono oftho debtors and anoUior
                                                                                      LJ Obligaltons arising oul of a separation agreement or divorce Ihat
                                                                                          you did not report as priority claims
         a Chockif thisclaim is for a communitydebt
                                                                                      LJ Debts to pension or prafit-shnring plans, and otiicr siinilar <3cbis
         Is the claim subject lo offset?                                              1-J Olhor. Specify.... _. _.. _ . _.___. _, __
         a No
         a Yes


                                                                                     Last 4 digits of account number _ _
         ManpriorilyCfodilor'sName
                                                                                     When was the debt incurred?

                         Slraol
                                                                                     As of the dale you file. the claim is: Chock all that apply.

         City                                           Slate                        a Conlingont
                                                                                     U Unliquidated
         Who incurred the debt? Chocl< ono.
                                                                                     LI DiSpulOd
         d Debtor 1 only
         0 Debtor2 only                                                              Type of NONPRIORITYunsecured claim:
         Q Debtor 1 and Dablor2 only                                                 LI Sludonlloans
         Q At leastoneofthedebtorsandanother
                                                                                     Q Obligalionsarisingoutofa separationagrcomonlordivorcethat
         Q Chockifthis claimis fora community dobt                                       you did not report as priority claims
                                                                                     a llcbls to pension or profit-sharing plans, and other similar dcbls
         Is the claim subject to offset?                                             Q Olhor. Spodfy.
         a No
         a Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claim5                                                   page _ of




                  Case 2:19-bk-10487-EPB                                Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                                Desc
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   Debtor 1
                    JESSICA LORENGAVARRETE
                                                                                                     Case number bibwwl
                   HrslNamB     MiddtuNanio              ~-t^StTja^~--'""


                  ListOthersto Be NotifiedAbout a DebtThat You Already Listed

   5' usclhis.p,a900-".ly-lf, youhavcothcrstobonotifiedaboutyourbankruptcy,fora debtthatyoualreadylistedinParts1 or2.For
                                                            collect from you for a debt you owe to someone clso, list tho original crcdilor in Parts 1 or
       ''-, I,no"_"51 "1°couocll°" agency tiQre. Similarly, If you have more than one creditor for any of the debts Ihat you listed in Parts 1 or 2. list the
                  i. Ifyou donot haveaddilional personsto benotifiedforanydcbls'inParts 1 or2,donot fi»outorsubmi't'th'is"pagc.
         BANNERTHUNDERBIRDMED                           On whichentry in Part 1 or Part 2 did you list the original creditor?
         Name

          5555 W THUNDERBIRDRD                                                 Linc_^^-of (Chock one): LJ Part 1: Creditors v/ilh Priorily Unsecured Claims
         Number
                                                                                                           Q{ Part?.: CrcdilorswithNanpriorilyUnsecuredClaims

          GLENDALE                            AZ           85306              Last 4 digits of account number
         City                                   Slate           ZIP Code

          MEDICAL DIAGNOSTIC IMAG                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Namo

        10835N25THAVE#140                                                      Line 1-iUoi (Chockono): Q Parl 1:CreditorswilhPriorilyUnsecuredClaims
        Number         St/ooi
                                                                                                                 Part 2: Croditurs with Nonpriorily Unsecured
                                                                               Claims

              PHOENIX                         AZ           85029               Last 4 digits of account number
        City                                    StaiuZtl> Codn

         CITIBANKTHE HOMEDEPOT                                                On which entry in Pan 1 or Part 2 did you list (lie original creditor?
        Naino


         701 EAST60TH STREETNORTH                                             Line4. 2 of {Chockono): Q Part 1:Creditors wilhPriofityUnsocurod Claims
        Numbw          Stroot
                                                                                                                 Part 2: Creditors wilh Nonprioriiy Unsocurod
                                                                              Claims

         SIOUX FALLS                          SD           57104              Last 4 digits of account number
        Clly                                   Stillc          W Coda
        RYAN RAPP & UNDERWOOD                                                 On which onlry in Part 1 or Part 2 did you list tho original creditor?
        Namo

        3200 N CENTRAL AVE                                                    Line ^"c of {Chock one): (J Part 1: Creditors wilh Priorily Unsociircri Claims
        Numbnr        Street
                                                                                                                 Par! 2: Creditors wilh Nonpriority Unsocurcd
         SUITE 2250                                                           Claims

               PHOENIX                        AZ            85012             Last 4 digits of account number
        City                                   StalD           ZIP Codo


                                                                              On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                              Line_at (Cliack onu): LJ Part 1: Crcdilors with Priority Unsecured Ctaims
       Numtror        Street
                                                                                                    Q Part Z: Creditors with Nonpriority Unsecured
                                                                              Claims


                                                                              Last 4 digits of account number
       °v...                                                   zircoiiB


                                                                              On which entry in Part 1 or Part 2 did you list tho original creditor?
       N'amo

                                                                              Line_of {Chockona): l_l Part 1: Creditorswith Priorily Unsocured Claims
       Number         Stwut
                                                                                                  U IJarl7:. Cruditurswiltl NunpriorityUnsouufud
                                                                              Claims


                                                                              Last 4 digits of account numtiur
       Cily                                    St. ily         W Undo



       Name                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?


       Nurnbor       Slroot
                                                                              Line_of (Chockono): D Part 1: CreditorswithPriorityUnsecuredClaims
                                                                                                          Q Part 2: Crcdilors with Nonpriority Unsucuroci
                                                                              Claims

       Cily                                                   7.11' Code      Last 4 digits of account number


Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                             pagu__of___




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 Debtor1       JESSICA LOREN GAVARRETE                                                         Cose numbcf (/f^ymij
               Fini Name      Middie Nafnu^^"'~L'   T^Tiamu


              Add the Amounts for Each Type of Unsecured Claim


 6. Totaltheamountsofcertaintypes ofunsocurodclaims.This informationis forstatistical reporting purposes only.28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                         Total claim



                Ga. Domestic support obligations                                  5a.    s 0
                6b. Taxes and certain other debts you owe tho
                    government                                                    5b.

                6c. Claims for death or personal injury whilo you wore
                    intoxicated
                                                                                  ec. 0
                6d. Other.Add all other priority unsecured claims.
                    Write thai amount hero.                                       6d.
                                                                                        +s_


                6e, Total, Add linos 6a through 6d.                               6C-         0. 00



                                                                                         Total claim



Total claims
                6(. Student loans
                                                                                  6f- . 0
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority                               0
                    claims                                                       63.
                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                                6h.


                Gi, Other. Add all other nonpriority unsocurod claims.
                    Wrile that amount here.                                      6,. + s 38192. 00

                6j. Total. Add lines 6f through 6i.                              6j.          38192. 00




Official Form 106E/F                                  Schedule E/F: Creditors Who I lave Unsecured Claims                   page _ of.




           Case 2:19-bk-10487-EPB                             Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                     Desc
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      Debtor            JESSICA LOREN GAVARRETE
                         r-iisi NiBnc                   t.tiiidto rEim                  'HS'RS;. ';
      Debtor 2
      [Scouso Iffiling) n,. INa,n,                 -i^'oN^-                             '^TKW;

      United States Bankruplcy Coun fur Ihc:                        .
                                                                         oisirictor_ARIZONA
      Case number
       (if known)
                                                                                                                                                                   Q Chock if this is an
                                                                                                                                                                       amended filing


 Official Form 106G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                              12/15
 Beas complolo and accurate as possible. If two married people arc filing together, both arc equally responsible for supplying correct
 [nformation.Ifmorespaceisneeded,copytheadditionalpage,fill it out, numbertheuntrios,andallachit tothisPOQQ.Onthetopofany
 additionalpages,writeyourname and case number(if known).

  1. Do you have any oxocutory contracts or unoxpjrod leases?
                 No.Checkthisboxandfile thisformwilhthecourtwithyourotherschedules.you havenolhinyulsulo reporton thisform.
          Q      Yes. Fill in all of the information below       even     if (he contracts   or   leases   arc   listed on Sc/iorfuto A/D: PropE rty (Omcial Form 106A/13).


            l SI!Paratc*yeach person or company wilh whom you have the contract or lease. Then state what each contract or lease is for (for
          example,rent, vehicle lease,cell phone).Sco IhoinslructionsforIhisformin«huinstruclion booklolformoro cxamptesofexecutorycontractsand
          unexpired leases.




         Person or company with whom you have the contract or lease                                                      Stale what the contract or lease is for


 2.1
          Name


          Number          Street


          City                                 Slate         ZIP Code

 2.2
          Nama


          Number          Slrccl


          City                                 State         ZIP Codo
 2.3

         Name


         Number           Strcot



         City                                 Sialu          ZIP Code

 2.4
         Name


         NumbeT           Street


         City                                 Stalo         ZIP Code

2,5
         Namo


         Number          Strecl

         City                                 Slalo         ZIP Codo


Official Form 106G                                     Schadulo G: Executory Contracts aild Uncxpircd Luasus                                                           page 1 of




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        in

   Debtor 1             JESSICA LOREN GAVARRETE
                                                        MlUSTjNanw
   Debtor 2
   (Spouse, if filing) FniNmo                          M.dahH.mu"-             -T. ^I~U,, |;,'

   UnitedSlatesOonkruplcy Court torIhc:                              Districl of ARIZONA
   Case numbor
   Elf known!
                                                                                                                                                         a Check if this is an
                                                                                                                                                            amended filing
 Official Form 106H
 Schedule H: Your Codebtors                                                                                                                                             12/15
 -^dob10rs arePeoPle<"'c"titios who ar° also liable for anydcbls you may have. Dcas complete and accurate as possible. K two married people
 arc filingtogether, both are equally rcsponsibjo for supplying correct informatian. Ifmore space is needed, copy the Atlditional Page, riUit out,
 and number the         entriesi    ini   the boxes   on   the left. Attach the Addilional       Page to this payc. On the top of any Additioniil Pages, write your     name   add
 case number (if known), Answer every question.

  1. Do you havo any codcbtors? (Kyou arc filing a foint cass. do not list either spouse os a codoblor.)
       B No
       a Yes
  2. Withinthe last8 years, have you lived in a communily property state or territory? [Commwiilyproperty slatos andtomlorics include
     Arizona,Calitornia, Idaho,Louisiana,Nuvada,NowMexico, Piiorto Kico,TCXEIS.Washington,andWisconsin.)
     Q No.Go toline 3.
       Q Yes.Didyourspouse, formor spouse, or lugal uquivalcnl live with you at the lime?
             a No
             Q Yes.InwhichcommunityslatoorIcrritGrydidyoulive? . FillinIhonamoandcurrentaddressofthatparson.

                  Name o» your spouse, (ormor spouso. or lcyol oqui^atofii



                  Number




                 City                                            State                             /IP Cuac


  3. In Column 1, list all ofyour codobtors. Do not include your spousa as a codcbtorif your spouse is filing with you. Listthe person
      shownin line 2 a9ainas a codcbtoronly if that person is a guarantoror cosigner.Makesure you have listed the creditor on
       Schodu/o D (Official Form 106D), Scf)cdu;c&'F (Official l-'orm 10SE/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to (ill out Column 2.

        Column 1: Your codcbtor                                                                                        Column 2: The creditor to whom you owe the debt
                                                                                                                       Check all schedulas Ihal apply:
 3.1
         Name
                                                                                                                        U Schudulo D, line
                                                                                                                       a Schedule E/F, line
         Number            Sliool
                                                                                                                        LI Schodulo G, line

        City                                                                                        .   'll'Cmli;

 3.2
        Name
                                                                                                                       U Schedule D. line
                                                                                                                       a Schedule KIP, line
        Number             Stronl                                                                                      Q Schedule G. line

        Cily                                                         Suiu                           xir Coiiu

3.3
        Name
                                                                                                                       U Schedule D. line
                                                                                                                       U Schodute C/r. line
        Number             Slreol
                                                                                                                       LJ Schedule G, line

        City                                                                                        W Cuue



Official Form 106H                                                           Schedule H: YourCodebtors                                                      page 1 of




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   Debtor1             JESSICA LOREN GAVARRETE
                       First Name              Middle Narito

   Debtor 2
   {SpoUSe, if filing) First Namo             UddtoNarn.             L.ill Ka->»

   Unlled States BankfuplcyCourt for tho:                  _Disiriciof ARIZONA
   Case number
   Ill known)
                                                                                                          Check if this is:
                                                                                                          Q Anamendedfiling
                                                                                                          a A supplomontshowingpostpetitionchaptor13
                                                                                                               income as of (he following date:
 Official Form 1061                                                                                            MM / DD/ YYYY

 Schedule I: Your Income                                                                                                                                12/15

 Bo as complete and accurate as possible. If two married people arc filing together (Debtor 1 and Debtor 2), both aio equally rosponsiblo for
 supplying correct information. Ifyou aro marriod and not filing jointly. and your spouse is living with you, include information about your spouse.
 If you arosoparatodandyour spouso is not filing with you, do not include information about your spouse. If more space is needed, attach a
 separatesheetto thisform.Onthetop ofanyadditionalpages,writoyournameandcasenumber(if known).Answereveryquestion.

                     Describe Employment


 1. Fill in your employment
     information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse
     Ifyou have more than onejob,
     attach a separate page with
     informalion about addilional           Employment status           a Employed                                        D Employed
     employers.                                                        K) Notemployed                                     a Nol employed
     Include part-time, seasonal, or
     solf-employcd work.
                                            Occupation
     Occupation may include student
     or homemaker. if il applies.
                                            Employer's name


                                            Employer's address
                                                                       Number      Sirrol                              Number    Stroot




                                                                       City                 Stale   211'Code           City                 Stale   ZIP Code

                                            How long employed thoro?


                    Give Details About Montlily Income

    Estimate monthly income as of the date you file this form. Ifyou havo nothing to report for any line, write SOin the spaco. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the informalion for all omployors for thai porson on Iho lines
    below. Ifyou need more space. attach a separate sheet lo this form.
                                                                                                    For Debtor 1        For Debtor 2 or
                                                                                                                        non-filing spouse
  2. Listmonthly gross wages, salary, and commissions (before all payroll
      deductions).Ifnotpaidmonthly,calculatowhatthemonthlywagewouldbo.                      2. 0                          s.
 3. Estimate and list monthly overtime pay.                                                 3. +S 0                    + s_.

 4. Calculate gross income. Add lino 2 + line 3.                                            A.      s 0-00


Official Form 1061                                                Schedule I: Your Income                                                           page 1




            Case 2:19-bk-10487-EPB                             Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                             Desc
                                                               Main Document   Page 26 of 44
 Debtor 1
                  JESSICA LOREN GAVARRETE
                                                                                                    Case number liftT
                  Fill Num      MU[>teNum»        LailN. imn'



                                                                                                For Debtor 1                For Debtor 2 or
                                                                                                                        .
                                                                                                                            non-filmfl spouse
     Copy line 4 horo.                                                               .. ->1.    , 0. 00                       $-.-
  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                  Sa.    s.                            s_
      5b. Mandatory contributions for retirement plans                                   5b.    s_                            $

      5c. Voluntary contributions for rctiromont plans                                   5c.    $.                            $
      5d. Required repayments of retirement fund loans                                   5d.    s_                            $
      5e. Insurance                                                                      5c.    s.                            s_
      5f. Domestic support obligations                                                   5f.    s                             $..
      5g. Union dues                                                                     5g.    s                             s_
      5h. Other deductions. Specify:                                                     5h.   +s_                      +s
  6. Add the payroll deductions. Add lines Sa .< 5t> + 5c + 5d + 5c <5( + 5g +5h,
                                                                               5h,        6;
                                                                                          6.    s                             s.

  7. Calculate total monthly tako-homo pay. Subtract line 6 from (ino 4.                  7.    s.                           s


  8. List all other income regularly rocoivod:
      8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for eact) property and business showing gross
            receipts, ordinary and necossary business expenses, and thu total
            monthly net income.                                                          8a.
      Sb. Interest and dividends                                                         Sb.
      8c. Familysupport paynionts that you, a non-filingspouse, or a dependent
            regularly roceivo
            Include alimony, spousal support, child support, mainlcnancc, divorce
            settlement, and property sclttemcnt.                                         8c.
     8d. Unemployment compensation                                                       8d.
      8e. Social Security                                                                gy.

      8F. Other govornincnt assistance that you regularly receive
            Includecashassistanceand tho value (if known)ofanynon-cashassislanco
            that you roccivc, such as food stamps (buncfils undur thu Supplemental
            Nutrition Assistansa Pjysramlpr housing subsidios.
            Specify;                                                                     gf.    s 610. 00                    $__
     8g. Pension or rotiroment income                                                   og.     s               _            $_
     8h.OthermonthlyIncome.Specify: VETERNDISABILITY                                    8h. +s 3171.00                  +$
  9. Add all other income. Add lines 8a + 8b+8c + 8d + 8c +8f+8g +8h.                    g.     s 3781.00                    s_
 IQ. Calculalo monthly incomo. Add lina 7 + line 9.
    Add the entries in line 10 for Dobtor 1 and Debtor 2 or non-filing spouse.           10.
                                                                                                $3781.00            + s                             = s 3781.00
 11. State all other regular contributions to the expenses that you list in Schedule J.
    Includeconlribulionsfrom an unmarriod partner, members ol yourhousoholcl, yourdependents, yourroommates, andolticr
    friends or relatit/es.
    Donolincludeanyamounts alreadyincludedin lines 2-10or amounts Ihalarcnot avaihibleto pay uxpunaoslisted in SclwduloJ.
    Specify:                                                                                                           11 +
 12. Add tho amount in the last column of line 10 to tho amount in line 11. Tho rc-sult is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabiiilics and Cortaiii Slalistical ln!or'nation, if il applies                     12.     ^3781. 00
                                                                                                                                                     Combined
                                                                                                                                                     monthly income
  l3. Dp you expect an increase or decrease within tho year after you file this form?
     S No.
     Q Yes. Explain:

Official Form 1061                                               Schodulo I: Your Incomu                                                               page 3.




            Case 2:19-bk-10487-EPB                          Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                                   Desc
                                                            Main Document   Page 27 of 44
     Debtor 1         JESSICA LOREN GAVARRETE
                                                                                                             Check if this is:
     Debtor 2
     (Spouao. Iffiling) R.slNami                  MUdip N-jmo               Uii( Nurno                       a An amendedFiling
     United States Bankruplcy Court (or the:                    District of ARIZONA                          Q A supplementshowingpostpetitionchapter13
                                                                                                                 expensBs as of the following dale:
    Case number
    (If known)                                                                                                   MM / DD / YYYY




   Official Form 106J
   Schedule J; Your Expenses                                                                                                                                    12/15

  8eas completeandaccurateas possible.Iftwomarriedpeoplearefilingtogether, botharc equally responsibleforsupplyingcorrect
  information. If more space is needed, attach another shoot to this form. On the top of any additional pages, write your name and case number
  (if known). Answerovary quostion.

                      Describe Your Household

  1. Is this a joint case?

     Q No. Goto line 2.
     Q Yes.DoesDebtor2 live in a separate household?
                   a No
                   a Yes. Deblor2 mustfileOfficialForm 105J-2,ExpensesforSoparatoI lousoholdofDebtor2.
  2, Do you have dependents?
                                                                                         Dependent's relationship to               Dependent's       Does dopcndcnt live
     Do not list Debtor 1 and                  X] Yos. Fillout this information for Debtor1 or Debtor 2                            ago               with you?
     Debtor 2.                                     each dcpondont.
     Do not stats the dependents'
                                                                                           SON                                                       LJ No
                                                                                                                                                     Xl YCS
                                                                                                                                                     LJ No
                                                                                                                                                     LJ Yt;.s
                                                                                                                                                     d No
                                                                                                                                                     D Yos
                                                                                                                                                     Q NO
                                                                                                                                                     a Yos
                                                                                                                                                     a No
                                                                                                                                                     U Yos
 3. Do your expenses include
    expenses of pooplo other than
    yourselfandyourdependents? u yoa

                   Estimate Your Ongoing Monthly Expenses
  Estimatoyouroxponsosasotyourbankruptcyfiling date unless you are using this form as a supplement in a Chapter 13 case to report
  expensesas ofa date after the bankruptcy is filed. If this is a supplemental SchoduloJ, chock the box at the top of the form and HI] in the
  applicable date.
  Include oxponsos paid for with non-cash government assistance if you know the value of
  such assistance and have included it on Schedulo I: Your Income (Official Form 1061.)                                                  Your expenses

  4. The rental or homo ownership oxponsos for your rasidcnco, Indudo first mortgago paymonls and
      any rent for tho ground or lot.                                                                                       /[
                                                                                                                                     s    962.00
      If not included in line 4:
      .
          la.   Roal estats taxes                                                                                           1;1.     s
      .
          ib. Property, homeowngr's, or renter's insurance                                                                  41).    s

      1c. Home mainlenance, repair, and upkeep exponsos                                                                     1c.     s.      100.00
      4d. Homeowner's association or condominium dues                                                                      4d.      s.

Official Form 106J                                                  Schedule J: Your Expenses                                                              page 1




                Case 2:19-bk-10487-EPB                            Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                                 Desc
                                                                  Main Document   Page 28 of 44
  Debtor 1
                   JESSICA LOREN GAVARRETE
                                                                                           Case rtumbor {lis'.rtiwnt




                                                                                                                                    Your expenses

                                                                                                                               s_      0
  5. Additionalmortgagepayments for your residence, suchas homocquilyloans                                             ^


  6. Utilities:
        6a. Eloclricity, heat, natural gas                                                                             6a.     s
                                                                                                                                       270. 00
        eb. Water, sewer, garbags collection                                                                           6&.     s_       100. 00
        6c.   Telephone, cell phone. Internet, satellite, and cable services                                           6c.     s        300.00
        6d. Olher. Specify:                                                                                            6[i.    s

  7. Food and housekeepingsupplies                                                                                     7.      s_       400.00
  8. Childcaro and chitdron's oducation costs                                                                          8.      $_
  9. Clothing, laundry, and dry cleaning                                                                               3.      s        50. 00
 10. Personal care products and sorvicos                                                                               10.     $         100.00
 11. Medical and dontal axponsas                                                                                       11.     s_
 12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                               s,
                                                                                                                                           500. 00
     Do not include car payments.                                                                                      1?.

 13, Entertainment, clubs, rocroation, newspapers, magazines, and books                                                13.     £"          200.00
 l<i. Charitable contributions and religious donations                                                                 1'1.    s

 15.   Insurance.
       Do not include insurance dsducled from your pay or included in lines 4 or 20.

        )5a. Life Insurance                                                                                            15a.    s.
       l5b. Health insurance                                                                                           15b.    s

       i5c. Vehicle insurance                                                                                          15c.    s        200. 00
       i5d. Otherinsurance. Specify:                                                                                   15[).   s


16. Taxes, Do not include taxes deducted from your payor included in lines A or 20.
       Specify:                                                                                                        16.     s_

17 Installment or lease payments:
       17a. Car payments (or Vehicle 1                                                                                 1/a,    s,      500.00
       17b. Car payments for Vehicle 2                                                                                 17-b.   s

       l7c. Other. Specify:                                                                                            17c.    s_
       17d. Other. Specify:                                                                                            17(1-   s


18. Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Incoirw (Official Form 1061).

19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                         19.

20. Other real proporty BXponsos not included in lines 4 or 5 of this form or on Schodulo I; Yourlncomo.
       20a. Mortgages on other proporty                                                                            20a.
       ZOb. Real estate taxes                                                                                      20b.

       20c. Property, homeowner's, or renter's insurance                                                           20c.

       ZOd, Maintenance, repair, and upkeep expenses                                                               20cl.
       20c. Homcowner's association or condominium duos                                                            20c.



Official Form 106J                                             Schedule J: Your Expenses                                                             pngu Z




              Case 2:19-bk-10487-EPB                         Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                               Desc
                                                             Main Document   Page 29 of 44
  o^ton         JESSICA LOREN GAVARRETE                                                      CascnumbCTi<b. B»,.i
                Flrsl Nnmo       MidakiNwna     Lti*!Naitiu




 21. Other, Specify:                                                                                                21.   +S


 22. Calculate your monthly expenses.
      22a.Add lines 4 through 21.                                                                               22a.      s    3707. 00
      22b. Copy line 22 (monthly expanses for Debtor2). if any, from Official Form 106J-2                       ZZb.      s

      22c. Add line 22a and 22b. The result is your monthly expenses.                                          .


                                                                                                                i2c..     s    3707.00


 23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                      $   3781,00
                                                                                                                23a.

    23b. Copyyour monthly expenses from lino 22c abovo.                                                         23b.           3707.00

    23c. Sublracl your monthly oxponsos from your monlhly income.
         The result is your monthly not incoino.                                                                           $   74. 00


 24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to incroaso or decroaso bocausc of a modification to the larnis of your morlgage?
    Kl No.
    0 Yes.       Explain hero:




Official Form 106J                                            Schedule J: Your Expanses                                                   page 3




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Dob,,,,,          JESSICA LOREN GAVARRETE
                          10                Misfuto Nam;                   LaslHMiu

Debtor 2
(Spouse, It filing) F»<1Namo                Middto Kafiio                  IMt Itomi

United Slates Bankmplcy Coun for Iho:                       District of   ARIZONA
Case number
(If known)

                                                                                                                                           CI Checkif this is an
                                                                                                                                              amondod filing


 Official Form 106Dec
 Declaration About an Individual Debtor's Schedules                                                                                                    12/15
 If two marriod pooplo arc filing together, both arc equally responsible for supplying correct information.
 you mustfile thisformwhenoveryou file bankruptcy schodulos oramended schedules. Makinga falseslatomcnt, concealing property, or
 obtaining money or property byfraud in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20
 years, or both. 18 U. S.C. §§152, 1341, 1519, and 3571.




                   Sign Bolow



      Did you pay or agree to pay somoono who is NOT an attorney to help you fill out bankruptcy forms?
      a No
           Yes. Nameofperson SUSANSALAS                                                 _. WachliankniplcyI'olilwnI'rcparcr'sNotice.OcclaraSvn.and
                                                                                                     Signaluw (Official Form 119).




     Under penalty of porjury, I declare that I have road thu suminary and schedules filed with this declaration and
     that they arc tru         d correct.




       Sig       ure of cb                                                   Signature of Debtor 2


         ate ,
                 0 , 15/2019                                                 Data
                 Mt DO I YW                                                           I.W I DU I   YYYY




Official Form 106Dec                                             Declaration About an Individual Dobtor's Schedules




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                                                                   Main Document   Page 31 of 44
    Fill in this informadon to Identify your case'

     Debtor1             JESSIC LOREN GAVARRETE
                         F«ntHsowi               MiAitaNam*               LastM;

    Dablor2
    (Spouw. Klidng) FtalNarmi                    MWoNumfriN«

    United States BankniptcyCourt for Ihe:                    Districtof ARIZONA
    Case number
     ()f knawn)
                                                                                                                               Q Check if this Is an
                                                                                                                                  amended filing



   Official Form 107
   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

   Beascompleteandaccuratsaspossibie.Iftwomanrledpeoplsarefilingtogether, bothareequallyrosponsiblBforsupplyingcorrect
   information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


    Part 1;         Give Details About Your Marital Status and Where You Lived Before


    1. What is your current marital status?

           Q Married
           23 Notmarried

    2. During the last 3 years, have you lived anywhere othsrthan where you live now?
          a No
          Q Yes.Listall ofth®placesyou lived inthelast 3 years. DonotIncludewhereyou livenow.
                                                                   Dates Debtor 1   Debtor 2:                                      Dates Debtor 2
                                                                   lived there                                                     lived there


                                                                                    a SamsasDebtor 1                                 Same as Oeblor 1

                                                                   From                                                              From
                  Number        Street                                                 Number    Street
                                                                   To      _.                                                        To     " ....


                  Clly                       Stale ZIPCodo                             City                 State ZIPCode

                                                                                    (-] Same as Debtor 1                          Q SameasDebtor 1

                                                                   From                                                              From
                  dumber        Slreel                                                 Number    Street
                                                                   To                                                                To



                  City                       State   ZIP Code                           ;if                 Slale   ZIP Coda



   3. Within the last 8 years, did you ever live wKh a spousa or legal equivalent In a communliy property state or territory? {Community properly
      States and terrilorias include Arizona, California, Idaho, Louisiana, Nevada, NewMexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      Q No
      .
          £1 Yes.MakesureyoufilloutScheduleH:YourCodebtors(OfficialForm106H).


   Pa       2: Explain tho Sourcas of Your Income

OfficialForm 107                                Statemantof FinancialAffairsfor IndividualsFilingfor Bankruptcy                        page 1




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 Debtor 1
                   JESSICA LOREN GAVARRETE
                                                                                                   Case number (.Tknonn)



   Part 3: ListCertain PaymentsYou (WadeBeforeYou Filed for Bankruptcy


   6. Are eitherDebtor1's or Debtor2's debts primarilyconsumerdebts?
      Q No. NeitherDebtor1 norDebtor2 hasprimarilyconsumerdobts.Consumerdebtsaredefinedin11U.S.C.§ 101(8)as
                  "incurredbyanindividualprimarilyfora personal, family, or householdpurpose."
                  Duringthe 90daysbeforeyoufiledforbankruptcy,didyou payanycreditora total of$6.825*or more?
                  a No, Go to line 7.
                  Q Yes.Listbeloweachcreditortowhomyoupaida totalofS6.825*ormoreInoneormorepayments andthe
                          totalamountyou paidthatcreditor. Donotincludepaymentsfordomesticsupportobligations,such as
                          childsupportand alimony.Also, do notIncludepaymentsto an attorneyforthis bankruptcycase.
                  " Subjectto adjustmenton 4/01/22andevery3 years afterthaiforcasesfiled on or afterthe date ofadjustment.
      13 Yes.Debtor1 orDebtor2 orboth haveprimarily consumer debts.
                  Duringtha90 daysbeforeyou filedforbankruptcy,didyou payanycreditora lotal of$600or more?
                  Q No. Go to line 7.

              Q Yes.Listbeloweachcreditortowhomyoupaida totalof$600ormoreandthetotalamountyoupaidthat
              .




                             creditor. Do not Include payments for domestic support obligations, such as child support and
                             alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                     Datos of      Total amount paid         Amount you still owe   Was this payment for*..
                                                                     payment


                       CALIBER HOME LOANS                           8/2019          $ 860. 00               $ 170748. 00               Mortgage
                      Creditor's Name
                                                                                                                                    Dear
                       PO BOX619063                                7/2019
                      Number     Street                                                                                             a Creditcard
                                                                                                                                    Q Loanrepayment
                                                                   6/2019
                                                                                                                                       Suppliers or vendors
                       HOUSTON TX 75261
                      City                 Slalo        ZIP C                                                                       a Olher


                                                                                                                                       Mortgage
                      Creditor's Namo
                                                                                                                                    Dear
                      Number     Slreel                                                                                             Q Credilcard
                                                                                                                                    a Loan repaymenl
                                                                                                                                    0 Suppliersorvendors
                      Cily                 Slalo        ZIP Code
                                                                                                                                    a Other



                      Creditor's Name
                                                                                                                                    a Mortgage
                                                                                                                                    Dear
                      Number Street                                                                                                 a Credit card
                                                                                                                                       Loan repayment

                                                                                                                                    a Suppliersorvendors
                      Cily                                                                                                          Q Other



Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                           pages




            Case 2:19-bk-10487-EPB                              Doc 7 Filed 08/20/19 Entered 08/21/19 09:02:44                                       Desc
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 Debtor 1
                   JESSICA LOREN GAVARRETE
                                                                                              Case number (akruun)
                   FtllNimo      MlddtoNamo




   7. Within 1 year before you filed for bankruptcy, did you mako a payment on a debt you owed anyone who was an insider?
      /ns/dersincludeyourrelatives; anygeneral partners; relatives ofanygeneral partners; partnarships ofwhichyou are a general partner;
      corporations ofwhichyouareanofficer,director, person incontrol, orownerof20%ormore oftheirvoting securities; andanymanaging
      agent,includingoneforabusinessyouoperateasa soleproprietor.11U.S.C.§ 101.Includepaymentsfordomeslicsupportobligations,
      such as child support and alimony.
     S No
      a Yes. Listall payments to an insider.
                                                                     Dalesof   Totalamount      Amountyoustill Reasonfor this payment
                                                                     payment   paid             owo



             Insider's Name



            Number      Streel




            Cily                              Slate   ZIP Code




            Insldei-sName


            Number      Street




            Clly                              Stalo   ZIP Coda



  8. Within 1 year before you filed for bankruptcy, did you make any paymsnts or transfer any proporty on account of a cfobt that benofitad
     an Insider?
     Includepayments on debts guaranteedor cosignedby an insider.

     S No
     Q Yes. Listall payments that benanied an insider.
                                                                    Dales of   Total amount    Amount you still      Reason for this payment
                                                                    payment    paid ,wo                              Includecreditor'sname

            Insider's Name



            Number      Street




            Cily                              Slain   ZIP Code




            Inatdor's Name



            Numfror    Slroot




            Cily                              Slate   ZIP Cods




Official Form 107
                                                                                                                                               page 4




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 Debion          ESSICA LOREN NAVARRETE                                                                          Case number (»kno«n)
                Fl/tl Nani*            MiddtoNamo




   Part 4: Identity Legal Actions, Repossessions, and Foreclosures
  9. Within1 yearbeforeyoufiledforbankruptcy,wereyoua partyin anylawsuit,courtaction,or administrativeproccading?
     Listallsuchmatters, including personal Injurycases, small claims actions, divorces, colleclion suits, paternity actions, support or custody rnodiRcations,
      andcontract disputes.
      a No
     S Yes. Fillinthedetails.
                                                                       Nature of the case                   Court or agency                            Status of the caso


           Caselille CIVIL SUIT                                                                            SUPERIOR COURT                              £3 Pending
                                                                                                          Court Namo


                                                                                                          201 W JEFFERSON ST                           Q Onappeal
                                                                                                          Number    Street                             Q Concluded
           Casenumber CV2019-007728                                                                        PHOENIX AZ 85003
                                                                                                          City                   Slate   ZIPCode



           Case liiie                                                                                     Court Name
                                                                                                                                                      Q Pending
                                                                                                                                                      Q Onappeal
                                                                                                          Number    Street                            Q Concluded
           Case number
                                                                                                          City                   Stale   ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnishad, attached, seized, or levied?
     Check all that apply and fill in the details below.

     S No. Gotoline11.
     a Yes. Fill Intha Information below.

                                                                                Describethe property                                      Date      Value of the property



                Creditor's Name



                Number        Strost                                            Explain what happened

                                                                                Q    Propsrly was repossessed.
                                                                                Q    Propertywasforeclosed.
                                                                                Q    Property was garnished.
               City                                 Slaio   ZIP Code            Q    Property was attached, seized, or levied.
                                                                                Describe the property                                     Data       Valuoofthepropert)




               Creditor's Name



               Number         Street
                                                                                Explain what happened


                                                                                Q    Property wasrepossessed.
                                                                                a    Propsrty wasforeclosed,
               City                                 Stale   ZIP Coda
                                                                                Q    Property was garnished.
                                                                                Q    Property was attached, seized, or levied.


Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page5




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 oebior1          JESSICA LOREN GAVARRETE                                                                 Case number lifiinoiml
                   FhINinu.        MidaloNama               LntNunn




   11.Within90daysbeforeyoufilgdforbankruptcy,didanycreditor. Includinga bankorfinancialInstitution,set offanyamountsfromyour
      accounts or refuse to make a payment becauseyou owed a debt?
      S No
      D Yes. Fillinthedetails.
                                                                  Doscrlbo the action the creditor look                            Dato action      Amount
                                                                                                                                   was taken
           Ciedilor's Name



           Number     Slreet




           Clly                           State UPCode           Last4 digitsof accountnumber: XXXX-_

  12.Within 1 year before you filed for bankruptcy, was any of your property In the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     S No
      a Yes

  Part 5:         List Certain Gifts and Contributions


  13.Within2 years before you flled for bankruptcy, didyou give anygiftswith a total valueof morethan $GOOper person?
     S No
     Q Yes.Fillinthedetailsforeachgift.

            Gifts with a total valua of more than $600           Dascrlbe the gifts                                                Dates you gave     Value
            par parson                                                                                                             tho gifts



           Person lo Whom You Gave the Gift




           Nymbor    SEreat



           City                          Slale   ZIP Code


           Person's relationshipto you


           Gifts with a total value of moro than $600            Descrlba the gifts                                                Datas you gave    Valuo
           par person                                                                                                              the gins



           Person to Whom You Gave tha Gift




           Number    Slreol



        City                             Slale   ZIP Code


        Person's relationship to you


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6




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                    JESSICA LOREN GAVARRETE
 Debtor 1                                                                                                 Case number (ifkrum)




  14.Within2 yearsbeforeyoufiledforbankruptcy,didyougiveanygiftsorcontributionswitha totalvalueofmorethan$600toanycharity?
     Q No
      D Yes. Fillinthedetailsforeachgiftorcontribution.
             Gins or contributions to charities              Dascribewhatyou contributed                                          Date you          Value
             thattotal mors than $600                                                                                             contributed




            CharlVsName




            Number    Street




            City        Stale          ZIPCode




  Part 6:           List Certain Losses


  15, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

            No
     Q Yss.Fillinthedetails.

             Doscrlbe the property you lost and              Describe any Insurance coverage for the toss                         Date of your      Value of property
             how the loss occurred                                                                                                loss              lost
                                                             Include the amount that insurance has paid. List pending insurance
                                                             claims on line 33 of ScheduleA/B: Property.




  Part 7:          List Certain Payments or Transfers

  16.Within1 yearbeforeyoufllod forbankruptcy, didyou or anyoneolsoacting on yourbehalfpayor transfer anyproperty to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Includeanyattorneys,bankruptcypetition preparers, or creditcounselingagenciesforservices requiredin yourbankruptcy.
    a No
    XI Yes. Fill in (he details.
                                                             Description and value of any property transferred                    Date payment or   Amount of payment
             SUSANSALAS                                                                                                           transfer was
             Poison Who Was Paid                                                                                                  made

             8821N7THST
             Number    Street                                                                                                     7/26/2019         s 200.00
            SUITE 100
              PHOENX AZ 85020
            Cily                        Stale    ZIP Coda

             suzy@americanaservices. com
            Email or webslts address


            PaisonWhoMadeIhoPayment. IfNot You


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 Debtor 1
                    JESSICA LOREN GAVARRETE
                                                                                                        Case number iiknoim]
                    RlllNuno       MtWtoNimc




                                                              Description and value of any property transferred                Date payment or      Amount of
                                                                                                                               transfer was made    payment

             Poison Who Was Paid



             Number      Straol




             Cily                       Stale    ZIP Code




             Emaa or websita address



             Person Who Made the Paymonl. If Not You


  17,Within 1 yaarbafore you filed for bankruptcy, didyou or anyone else acting on yourbehalfpayor transfer anyproperty to anyone who
      promisad to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer Ihat you listed on line 16.

     Xl No
     a Yes.Fillinthe details.
                                                             Description and value of any proparty transferrad                 Date payment or     Amount of paymant
                                                                                                                               transferwas
                                                                                                                               made
             Person Who Was Paid



             Number      Street




             City                       State   ZIP Codo


  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred Inthe ordinarycourse of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Donot include gifts and transfers that you have alreadylisted on this statement.
     X] No
     a Yes. Fill In the details.
                                                             Description and value of proparty        Doscriba any property or paymgnts roceivod      Data transfer
                                                             transforrod                              or dobtg paid In oxchango                       was mado
            Person Who Recelvsd Transfer



            Nurnbor     Stroal




            City                       State    ZIPCode

            Person's relationshipto you


            Parson Who Rwei»ed Transfer



            Number      Strout




            Clly                       Stale    ZIP Coda

            Person's relationship to you

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  pages




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 Deuor1            ESSICA LORENGAVARREETE                                                             Case number (i»tnomi)
                 Flnf Naiwft      MiddtoNamo




   19,Within 10years before you filed for bankruptcy, didyou transfer any property to a setf.settled trust or similar device ofwhichyou
      are a beneficiary? (These are often called asset-prolectiw {levices.)
     X] No
      a Yes,FillInthedetails.

                                                             Description and value ofthe property transferred                                            Date transfer
                                                                                                                                                        was mado



          Name or trust




  Part 8; List Certain FinancialAccounts, Instrumonts, Safe Deposit Boxes, and Storage Units
  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments hold in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     S] No
      a Yes.Fill Inthe details.
                                                             Last 4 digits of account number    Type of account or            Data account was       Last balance before
                                                                                                Instrument                    closed, sold, moved,   closing or transfer
                                                                                                                              or transferred


           Name of Financial Inslllutlon
                                                             XXXX-.                             a Checking
          Numbor      Slroal                                                                    Q Savings
                                                                                                    Money market

                                                                                                a Brokerage
          City                       Stato     ZIP Coda
                                                                                                Q Other_

                                                            xxxx-                               Q Checking
          Name of Financial tnatilution
                                                                                                    Savings

          Numbw Street                                                                          Q Money market
                                                                                                    Brokorago

                                                                                                Q Other.
          City                       State     ZIPCode

  21. Do you now hava, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
    S] No
     a Yes. Fill in the details.
                                                            Who also had access to It?                        Doscrlbo tho contents                         Do you still
                                                                                                                                                            have it?


                                                                                                                                                            a No
          Namn of Financialinstllullon                                                                                                                      a Yes

          Number      Strool                               Number   Strnot



                                                           City
          City                       Stnlo , ZIP Codt.



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 Debtor 1
                       JESSICA LOREN GAVARRETE
                                                                                                                  Case number (ifbinim
                      FlfUNamo       l.tejdls Nauw




  22.Haveyoustored property Ina storage unitorplaceotherthanyourhomewithin 1 yearbeforeyoufiledfor bankruptcy?
            No
      Q Yes, Fill in tho details.
                                                                     Who alse has or had access to 1(7                 Describe the contents          Do you still
                                                                                                                                                      hava tt?

                                                                                                                                                      a No
               Name o( Storage Faclllly                              Namo
                                                                                                                                                      a Yes
               Number      Strool                                    Number     Street



                                                                    CityStalt. ZIPCode

               City                       Stale        ZIP Codo



  Part 9;              Identify Property You Hold or Control for Someone Else

  23.Doyouholdorcontrolanypropertythatsomeoneelseowns?Includeanypropertyyou borrowedfrom, arestoringfor,
      pr hold In trust for someone.
      S No
      a Yes. Fill in the details.
                                                                    Whoro Is ths property?                             Doscrlbo tho property      Value


              Owner'* Namo


                                                                   Number     Stroot
              Numbw       Straet




              City                        SUI. ZIPCod.             c"y                            st"" 21f'cod°
  Part 10:            Olvo Details About Envlronmnntal Information

  Forthe purposeof Part10,thefollowingdefinitionsapply;
  . Environmentallawmeans anyfederal,state, or local statute or regulation concerningpollution, contamination, releases of
    hazardous or toxic substances, wastes, or material Into the air, land, soil, surface water, groundwater, or other medium,
    Includingstatutes or regulations controllingthe cleanup ofthesesubstances,wastes,or material.
  . Sitemeansanylocation,facility,or propertyasdefinedunderanyenvironmentallaw,whetheryounowown,operate,or
     utlllza It or used to own, operate, or utilize it, Includingdisposal sites.
  . Hazardousmaterialmeans anything an environmental law defines as a hazardouswaste, hazardoussubstance, toxic
    substance, hazardousmaterial, pollutant, contaminant, or similar term.

  Reportallnotices,releases,andproceedingsthatyouknowabout,regardlessofwhentheyoccurred.
  24.Hasanygovernmental unit notifiedyou thatyou may be liable or potentially liableundoror in violation of an environmental law?
     El No
     a Yes.FillInthedetails.
                                                                   Govommontat         unit                 Environmental law, if you know it   Data of notice



            NamaofellB                                            Govommantat unFt


            Number      Struct                                    Number      Stroot


                                                                  City                    Stato ZIP Codu


            City                      Slalo          ZIP Code




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                     JESSICA LOREN GAVARRETE
 Debtor 1                                                                                                  Case number i. 'iinaT)
                    FhlNamo      MMatoNamo




   25,Have you notifled any governmental unit of any release of hazardous material?
      a No
      a Yes.Fill Inthedetails.
                                                          Govornmontal unit                           Environmonlallaw, if you know It                     Date of notice



              Namooftlla                                 Govgmmontal unit


             Number      Stnst                           Number     Btroot



                                                         City                 Stale    ZIP Codo


             cny                    State    ZIP Coda



  26. Have you been a party In any judicial or administrative proceeding under any environmental law? Include settlements and orders,
     S No
      a Yes. Fill in the details.
                                                                                                                                                            Status of the
                                                           Court or agency                                Nature of the caso
                                                                                                                                                           case

            Case title
                                                                                                                                                           Q Ponding
                                                                                                                                                               On appeal
                                                           Number    Street                                                                                    Concluded


            Case number
                                                           City                       State ZIPCodo


  Part 11:          Give DetailsAbout Your Bunlneas or Connectlona to Any Business
  27, Within 4 years bBfors you filed for bankruptcy, did you own a business or have any ofthe following connections to any business?
            Q A soleproprietororself-employod Ina trade,profession,orotharactivity,clthorfull-timeorpart-time
            Q A mamber ofa limited liability company (LLC) or limited liability partnership (LLP)
            Q A partner in a partnership
            Q An officer, director, or managing executive ofa corporation
            Q An owner ofat laast5%ofthe voting or equity securities ofa corporation
            No. None ofthe above applies. Go to Part 12.
     Q Yes.Checkallthatapplyaboveandfill inthe detailsbelowforeachbusiness.
                                                          DoEcrlbo thn nature of (ho buslnass                             Employer Idonlification number
             BusInoM Name                                                                                                 Do not Include SocialSocurity number or 1TIN.

                                                                                                                          EIN: __-__ _
             Number      Sued

                                                          Name of accountant or bookkoapor                                Dates business existed



                                                                                                                          From               To
             City                   Slato    ZIP Corfo

                                                          Describe the nature of the business                             EmployerIdentification number
             Business Nams                                                                                                Do not include Social Securitynumber or ITIN.

                                                                                                                          EIN: _    _ -
             Number      Stnet
                                                          Name of accountant or bookkeeper                                Dates business existed



                                                                                                                          From               To
            City                   Stata     ZIP Code


Official Form 107                              Statement ofFinancialAffairsfor IndividualsFilingfor Bankruptcy                                               page 11




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 Debtor1          JESSICA LOREN GAVARRETE                                                                Case numbsr ptnomi)
                  Flral Ham«             MUOUNam»




                                                                 Describe the nature of the business                   Employer Idontiflcation number
                                                                                                                       Donot IncludeSocialSecuritynumberor ITIN.
            Business Mama

                                                                                                                       EIN; _    _ -
            Number       Stroftt
                                                                 Name of accountant or bookkeeper                      Dates business exlstad




                                                                                                                       From               To
           City                             Stain   ZIP Cods




  28.Within2 yaarsbeforeyou Tiled for bankruptcy,didyou givea financialstatemsntto anyoneaboutyour business? Includeall financial
      Institutions, creditors, or other parties.
     S No
      a Yes. Fill In the details below.
                                                                Data issued




                                                                MM/DD/VYYY


           Number Strcot




           City                             Stato   ZIP Codo




  Part 12: Sign Below

       I havereadthe answerson this Statementof FinancialAffairsand anyattachments,and I declare underpenaltyof perjury thatthe
       answersaretrue and correct. I understandthat makinga falsestatement, concsalingproparty, or obtainingmonay or proporty byfraud
       In connectionwltt) ankruptcy casecan result in fines upto $250,000, or imprisonmentfor up to 20 years, or both.
       18 U. S. C. §§ 152/13 1, 1519, and 3571.




           S nature of             tor                                           Signature of Debtor 2

                    /"
           Date -J15/2019                                                        Date
       Didy -.'attachadditionalpagesto YourStatementof FinancialAffairsfor IndividualsFilingfor Bankruptcy (Official Form 107)7
      Q No
       a Yes


      Didyou payor agreeto paysomeonewho Is not an attorneyto help you fill outbankruptcyforms?

      SSs.        ^        of person
                                              SUSAN SALAS / AMERICANA                        SERVICES .        ^      ^ ^^             ^        ,^^      ^,,
                                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                     Statementof FinancialAffairsforIndividualsFilingfor Bankruptcy                                    page 12




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D^I                 JESSICA LOREN GAVARRETE
                    Rflt Naine            ^'~7JiJ3i^:Ti ^u"""

Debtor 2
(Spouso. it tiling) Fnl N.ur.u               Mduli,Naiu' -"

United States BankruptcyCourt (or tho;               .
                                                         District of . ARIZONA
Caso number                                                                                                                             a Check if this is an
(II known)
                                                                                                                                            amended filing



  Official Form 108
 Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15
 If you arc an individualfiling under chapter 7, you must (ill out this form if:
     creditors have claims socurod by your property, or
 . you havo leased personal property and tho lease has not expired.
 You must file this form with the court within30 days after you file your bankruptcypetition or by the date set for tho mooting of creditors,
 whicheverIs earlier, unless the court extends the time for cause.You must also send copies to the creditors and lessors you list on the form.
 Iftwo marriedpeople arefiling togetherin a joint case, both arc equallyresponsible for supplying correct information.
 Both debtors must sign and data the form.

 Be as complete and accurateas possible. If more space is needed,attach a separatesheet to this form. On the top of any additionalpages.
 write your name and case number (if known).

                    List Your Creditors Who Have Secured Claims

   1. For any creditors that you listed in Part 1 o( Schedule D: Creditors Who Have Claims Secured by Pfoporty (Official Form 106D), fill in the
        information bolow.


          Identify tlte creditor and the property that is collatoral             What do you intend lo do wilh tho property thai   Did you claim lltc property
                                                                                 secures a debt?                                   as exempt on Schedule C?

         creditor's CALIBERHOMELOANS                                          l-l SurrenderIhc property.                           LJ NO
         name:
                                                                              a Retain the property and redeem it,                 X] Yes
        ?reo3'onof REALPROPERTY                                                    Kclain (lie property and cnlcr into a
        socuring dobt: 14932 W ACAPULCO LN                                         Rcairirmation Agroomont.

                                 SURPRISEAZ 85379                             1-1 Kotain llio proporty and [oxplain):


        Creditor's               ALASKAUSA FCU                               a Surrender the property.                             LI No
        name:

                             2016 DODGE RAM                                  Cl Retain Iho property and rodocrn il.                KlYos
        Description of
        property                                                             SO Rclain the property and enter into a
        securing debt;                                                             Ifoaflimalion Agrocnwil.
                                                                             CJRetain thepropertyand[explain]:

        Creditor's
        name:
                                                                             (-1 Surrondor iho proporly.                           LJ No
                                                                             U Kotain Ihc property cind rodocm it.                 DYOS
        Doscription of
        property                                                             LI Kclain Iho prupurty and cntur into a
        securing dobt:                                                             Ruaflirmalion Agrocniont.
                                                                                  Rulain the property and [explain]:


        Creditor's
        name:
                                                                             a Surrender the property.                             a No
                                                                             a Kotain the property and redeem it.                  QY<«.
        Description of
        property                                                             U Retain (ho property and enter into a
        securing debt;                                                            Ruiitlirmalion Agrmmonl.
                                                                             U Retain the properly and [cxpliiin):


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  Dfblgr 1
                     JESSICA LOREN GAVARRETE
                                                                                                     Case number [»iinown}^
                     Full Nana          Midnlc Name




                     List Your Unexpired Personal Property Leases

    Foranyunexplrodpsrsonalpropertyloasothatyoulisted in SchodulcG:executoryContractsandUncxpircdLeases(OfficialForm 106G),
    fill in theinformationbolow.Donot list real ostato leases. Unoxpirodluasusaro loaspsIhalarestill in offoct; tho loascperiod hasnot yot
    ended. You may assumean uncxpirod personal property lease if the trustee docs not assume it. 11 U.S.C. § 365(p)(2).
             Describe your unoxplrod personal property leases                                                                  Will the lease be assumed?

        Lessor's name:
                                                                                                                              LJ No

        Descriplion of leased
                                                                                                                              a yes
        property:



        Lessor's name;
                                                                                                                              a No

        Description of leased
                                                                                                                              a Yes
        property:


        Lessor's name:
                                                                                                                              LJ No
        Dsscriplion of leased                                                                                                 U Yes
        propsrty:


        Lessor's name:
                                                                                                                              a No
                                                                                                                              LJ Yes
        Description of lessod
        property:


        Lessor's name:
                                                                                                                              D Nt)
                                                                                                                              UYOS
       Description of leased
       property:


       Lessor's name;                                                                                                         U No
                                                                                                                              CiYos
       Description o( loasod
       property:


       Lessor's namo:
                                                                                                                              U No
                                                                                                                              LJYus
       Description of leased
       property:




                     Sign Below



     Under penalty of perjury, I doclarc that I have indicated my inlcnlion about any property of my estate that secures a dcbl and any
     personal ro orty that is subject to an unoxpirod lease.




        ignat           abler 1                                           Slgnnluro of Uubtor 2

       Da         , 15/2019                                              Oolc
               MM/   OD    /     YYYY                                           MM/ Uli I    YVYY




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